Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 1 of 55




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 1:20-cv-25022-KMM


   GHADA OUEISS,

          Plaintiff,
   v.

   MOHAMMED BIN SALMAN
   BIN ABDULAZIZ AL SAUD, et al.,

          Defendants.
                                               /



                                      OMNIBUS ORDER

          THIS CAUSE came before the Court upon nine (9) motions to dismiss on behalf of the

   following fifteen (15) Defendants in this matter: (1) Mohammed bin Salman bin Abdulaziz Al

   Saud, (ECF No. 161); (2) Sharon Van Rider, Christanne Schey, Sam Jundi, and Annette Smith,

   (ECF No. 162); (3) Faisal Al Menaia, Awwad Al Otaibi, Turki Al-Owerde, and Tarek Abou

   Zeinab, (ECF No. 163); (4) Saud Al Qahtani, (ECF No. 164); (5) DarkMatter, (ECF No. 165);

   (6) Prince Mohammed Bin Salman Abdulaziz Foundation, (ECF No. 166); (7) Bader Al-Asaker,

   (ECF No. 167); (8) Masharea wa Enjazat IT Corporation LLC, (ECF No. 168); and, (9) Middle

   East News FZ-LLC, (ECF No. 169) (collectively with (ECF Nos. 161–168), the “Mots. to

   Dismiss”). Plaintiff Ghada Oueiss filed an Omnibus Response in Opposition. (“Resp.”) (ECF

   No. 172). Defendants filed replies. (ECF Nos. 175–183). The Motions to Dismiss are now ripe

   for review.
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 2 of 55




   I.     BACKGROUND1

          This case arises under the Court’s federal question jurisdiction, pursuant to 28 U.S.C.

   § 1331, because Plaintiff asserts claims under the Alien Tort Statute (“ATS”), 28 U.S.C. § 1350,

   and the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030. Am. Compl. ¶ 121.

   Plaintiff’s state law claims arise under this Court’s supplemental jurisdiction, pursuant to 28 U.S.C.

   § 1367. Id.

          On December 9, 2020, Plaintiff filed a Complaint against eighteen (18) named defendants,

   both foreign and domestic, and twenty (20) John Does, alleging claims of (1) hacking Plaintiff’s

   mobile device in violation of the ATS; (2) violation of the CFAA; (3) violation of the Stored

   Communication Act, 18 U.S.C. §§ 2701–2712; (4) intentional infliction of emotional distress

   under Florida law; (5) intrusion under Florida law; (6) public disclosure of private facts under

   Florida law; (7) libel under Florida law; and (8) civil conspiracy under Florida law. See generally

   (ECF No. 1). The case was reassigned to the undersigned, (ECF No. 16), and thereafter, defendants

   moved to dismiss and to stay all pretrial proceedings pending the resolution of their motions to

   dismiss. See (ECF Nos. 83–87, 89–90, 97). On April 5, 2021, the Court granted the defendants’

   motions to stay, thereby staying “all pretrial obligations in this matter, including discovery.” (ECF

   No. 130) at 6. On June 14, 2021, Plaintiff filed her Amended Complaint asserting six claims

   against the fifteen (15) Defendants. See generally Am. Compl. Therein, Plaintiff alleges as

   follows.

          A. The Parties.

          The Court begins with a brief description of each Party, beginning with Plaintiff.



   1
     The following background facts are taken from the Amended Complaint (“Am. Compl.”) (ECF
   No. 135) and are accepted as true for purposes of ruling on the motions to dismiss. Fernandez v.
   Tricam Indus., Inc., No. 09-22089-CIV, 2009 WL 10668267, at *1 (S.D. Fla. Oct. 21, 2009).


                                                     2
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 3 of 55




              Plaintiff.

          Plaintiff is Ghada Oueiss (“Plaintiff”)—an international journalist, anchor, and presenter

   for Al Jazeera, a news organization headquartered in Doha, Qatar, and a contributor to The

   Washington Post, George Washington University, and Publications International Press Institute.

   Am. Compl. ¶¶ 1, 35. In her Amended Complaint, Plaintiff asserts claims under the ATS, the

   CFAA, and Florida law, specifically, intentional infliction of emotional distress, intrusion, libel,

   and civil conspiracy, against fifteen (15) named Defendants and twenty (20) John Does. Four

   Defendants are residents of the United States, with two residing in Florida. The remaining

   eleven (11) Defendants all appear to be based abroad.

              The U.S. Defendants.

          The four named Defendants residing in the United States are Sharon Van Rider (“Van

   Rider”),2 Sam Jundi (“Jundi”), Annette Smith (“Smith”), and Christanne Schey (“Schey”)

   (collectively, the “U.S. Defendants”). Van Rider and Jundi are residents of Florida, residing in the

   Miami and Orlando areas, respectively. Am. Compl. ¶¶ 39, 47. Smith is a resident of California.

   Id. ¶ 52. Schey is a resident of Texas. Id. ¶ 57. The Amended Complaint also identifies three

   additional U.S.-resident nonparties who, upon information and belief, contribute “at least in part”

   to the conspiracy that is the subject of this action, which is further described below. Id. ¶¶ 62, 64.

   These three individuals are not named as defendants in this case.

              The Foreign Defendants.

          The Foreign Defendants are Mohammed bin Salman bin Abdulaziz Al Saud (the “Crown

   Prince” or “MBS”), DarkMatter, Saud Al Qahtani (“Al Qahtani”), Bader Al-Asaker



   2
     Van Rider was previously identified as “Sharon Collins” in Plaintiff’s original Complaint, see
   generally (ECF No. 1), but is identified in the Amended Complaint by her maiden name. See Am.
   Compl. ¶ 39 n.15.


                                                     3
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 4 of 55




   (“Al-Asaker”), Middle East News FZ-LLC (“Al Arabiya”), Masharea wa Enjazat IT Corporation

   LLC (“Saudi 24 TV”), Prince Mohammed Bin Salman bin Abdulaziz Foundation (“MiSK” or

   “MiSK Foundation”), Tarek Abou Zeinab (“Zeinab”), Faisal Al Menaia (“Al Menaia”), Turki

   Al-Owerde (“Al-Owerde”), and Awwad Al Otaibi (“Al Otaibi”) (collectively, the “Foreign

   Defendants”). Certain Foreign Defendants are also identified in the Amended Complaint as

   “Recruiting Defendants,” as further explained below. They are Defendants Zeinab, Al Menaia,

   Al-Owerde, and Al Otaibi (collectively, the “Recruiting Defendants”).

          Defendant Mohammed bin Salman bin Abdulaziz Al Saud is the current Crown Prince of

   the Kingdom of Saudi Arabia. Id. ¶ 66. He is sued in his personal capacity for all claims asserted

   against him in the Amended Complaint for allegedly coordinating, directing, and supervising a

   network of agents to silence his critics. Id. ¶¶ 66, 68, 75. The Amended Complaint asserts that he

   has “effectively been in a position of power since he pushed aside all rivals in 2017” through brutal

   crackdowns. Id. ¶ 66. The Crown Prince is a citizen of Saudi Arabia residing in Saudi Arabia.

   Id. According to the Amended Complaint, Defendants Al Arabiya, Saudi 24 TV, and MiSK

   Foundation are all alter egos of the Crown Prince in his personal capacity. Id. ¶ 133.

          Defendant DarkMatter is an Emirati cybersecurity company founded in either 2014 or

   2015, based in the United Arab Emirates. Id. ¶ 76. According to the Amended Complaint,

   DarkMatter controls a sophisticated hacking group known as “Project Raven,” which is a secret

   Emirati intelligence program that utilizes Pegasus spyware against perceived critics of the Saudi

   and Emirati regimes. Id.

          Defendant Saud Al Qahtani is the former royal court advisor and media advisor to the

   Crown Prince, former chair of the Saudi Federation for Cybersecurity Programming and Drones,

   and former General Supervisor for the Center for Studies and Media Affairs. Id. ¶ 77. At one




                                                    4
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 5 of 55




   point, Al Qahtani was also a member of the board of the Crown Prince’s non-profit foundation,

   MiSK Foundation, which is further described below. Id. ¶ 83. Al Qahtani is a citizen of Saudi

   Arabia. Id. ¶ 77. According to the Amended Complaint, Al Qahtani facilitates and oversees hack

   and leak campaigns on behalf of the Crown Prince and uses “bot” networks to spread

   disinformation on social media. Id. ¶¶ 78–81. The Amended Complaint alleges that Al Qahtani

   also spearheaded the conspiracy against Plaintiff. Id. ¶ 83. As discussed below, Al Qahtani, upon

   information and belief, manages a masked Twitter account with the handle “@KateStewart22”

   alongside an unidentified nonparty residing in the United Kingdom. Id. ¶ 84.

          Defendant Bader Al-Asaker is the head of the Private Office for the Crown Prince. Id.

   ¶ 85. By Saudi royal decree, Al-Asaker holds the rank of Minister within the government of the

   Kingdom of Saudi Arabia. Id. As recently as May 20, 2020, Al-Asaker also served as the

   Secretary General of the Crown Prince’s foundation, MiSK Foundation. Id. Al-Asaker is sued in

   his capacity as Secretary General of MiSK Foundation and as being under the direction and control

   of the Crown Prince in the Crown Prince’s personal capacity. Id. ¶ 88. Al-Asaker is a citizen of

   Saudi Arabia. Id. ¶ 85.

          Defendant Al Arabiya is a broadcast and internet news network operator, which according

   to the Amended Complaint, is controlled by and functions as an alter ego of the Crown Prince. Id.

   ¶ 89. Al Arabiya is a wholly owned subsidiary of Middle East News FZ-LLC; the Crown Prince

   owns an approximately 60 percent majority share of ownership in Al Arabiya.           Id. ¶ 134.

   Al Arabiya operates offices in both Saudi Arabia and the United States, including a studio in

   Washington, D.C. with reporters assigned to the White House press pool. Id. ¶ 89. According to

   the Amended Complaint, Al Arabiya is one of the Crown Prince’s propaganda arms. Id. ¶ 134.




                                                  5
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 6 of 55




           Defendant Saudi 24 TV is a broadcast and internet news network with offices in the United

   States and Saudi Arabia, and is owned and operated by Masharea wa Enjazat IT Corporation LLC.

   Id. ¶ 91. Plaintiff claims, upon information and belief, that Saudi 24 TV is dominated and

   controlled by the Crown Prince, for whom Saudi 24 TV serves as a propaganda arm. Id. ¶¶ 92,

   136. Defendant Zeinab is an employee of Saudi 24 TV. Id. ¶ 92. Like Al Arabiya, Saudi 24 TV

   operates a studio in Washington, D.C. with reporters assigned to the White House press pool. Id.

   ¶ 91.

           Defendant MiSK Foundation is a non-profit founded by the Crown Prince in his personal

   capacity. Id. ¶ 93. According to the Amended Complaint, MiSK Foundation operates under the

   guise of providing educational initiatives and opportunities to Saudi Arabian citizens, but in reality,

   carries out secretive operations in the United States on behalf of the Crown Prince. Id. ¶ 138.

   Until May of 2020, Defendant Al-Asaker was the Secretary General of MiSK Foundation. Id.

   ¶ 94. Defendant Al Qahtani also previously served as a member of MiSK Foundation’s board. Id.

   Plaintiff alleges, upon information and belief, that MiSK Foundation serves as a front for the

   Crown Prince, Al Qahtani, and Al-Asaker in their efforts to create networks of foreign and

   domestic agents, including the conspiracy that is the subject matter of this case. Id.

           Defendant Tarek Abou Zeinab is a citizen of Lebanon who has been employed by Saudi

   TV 24 as a radio and TV broadcaster in Lebanon since, upon information and belief, 2018. Id.

   ¶¶ 96, 98. As noted above, Zeinab is a Recruiting Defendant.

           Defendant Faisal Al Menaia is a citizen of Saudi Arabia. Id. ¶ 104. The Amended

   Complaint does not indicate where Al Menaia resides, beyond noting that he has studied in the

   United States and the United Kingdom. Id. As noted above, Al Menaia is a Recruiting Defendant.




                                                     6
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 7 of 55




           Defendant Turki Al-Owerde is a national of Saudi Arabia. Id. ¶ 108. Al-Owerde is the

   Editor-in-Chief of The Herald Report, which, according to the Amended Complaint, is a news

   agency based in the United Arab Emirates. Id. As noted above, Al-Owerde is a Recruiting

   Defendant.

           Defendant Awwad Al Otaibi is a citizen of Saudi Arabia. Id. ¶ 114. The Amended

   Complaint does not indicate where Al Otaibi resides, beyond noting that he studied in the United

   States until 2017 and works in the “Information Technology and Security field.” Id. The Amended

   Complaint indicates that Al Otaibi is a close ally of the Crown Prince and the Saudi royal family.

   Id. ¶ 119. Al Otaibi is identified as a Recruiting Defendant, as noted above.

           Last, the Amended Complaint states that, upon information and belief, twenty (20) John

   Does, not named in the Amended Complaint “participated with, conspired with and aided and

   abetted each of the other Defendants” as agents, alter egos, and employees of the other Defendants.

   Id. ¶ 120.

           B. Allegations and Claims.

           At a high level, Plaintiff alleges that the Crown Prince spearheaded a conspiracy to hack

   her mobile device and then, through a network of agents located in the United States and abroad,

   defamed and harassed Plaintiff on the internet for her reporting on the Crown Prince’s approval of

   the high-profile killing of international journalist Jamal Khashoggi, a critic of Saudi Arabia and

   the Crown Prince (the “Conspiracy”). See id. ¶¶ 1–34. The Amended Complaint asserts that the

   Crown Prince was motivated by a desire to “whitewash his public image in the eyes of the

   American government and its citizens,” id. ¶ 4, and Plaintiff is just the Crown Prince’s most recent

   victim, id. ¶¶ 16, 30.

           According to the Amended Complaint, the hack and leak Conspiracy against her has




                                                    7
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 8 of 55




   followed a similar methodology to what the Crown Prince has employed against his other critics.

   Al Qahtani has allegedly used Saudi-based Twitter “bot” accounts to conduct cyber-attacks on the

   Crown Prince’s critics, including the ongoing smear campaign directed at Plaintiff. Id. ¶¶ 141-142.

   Plaintiff claims that the Saudi Royal Guard, on behalf of Saudi Arabia, acquired advanced hacking

   tools from the Israeli cyber firm NSO Group Technologies Limited (“NSO Group”) and the Italian

   cyber firm Hacking Team. Id. ¶ 144. The Amended Complaint alleges that this allowed the Crown

   Prince in his personal capacity to increase the effectiveness of his cyber influence campaigns

   against his critics. Id.

           According to Plaintiff, Saudi Arabia acquired NSO Group’s “Pegasus” spyware in

   November of 2017, and shortly thereafter in 2018, the Crown Prince acquired use of the spyware.

   Id. Plaintiff contends that the Crown Prince personally used this spyware technology to hack The

   Washington Post owner and former Amazon CEO Jeff Bezos’s mobile device through the

   WhatsApp messaging platform. Id. ¶ 145. The Amended Complaint alleges that the same

   methodology used against Mr. Bezos, among others, was later used to hack Plaintiff’s device. Id.

   ¶¶ 145–146. Likewise, DarkMatter, through its control over the advanced hacking group known

   as Project Raven, has engaged in similar tactics against targets of Saudi and Emirati interest. Id.

   ¶¶ 147–151.

           The Amended Complaint alleges that the Conspiracy against Plaintiff had three phases: a

   recruiting stage, a hacking stage, and a dissemination stage, as set forth below. See id. ¶ 155.

           Recruitment

           The first stage of the Conspiracy alleged involves the creation of what Plaintiff terms the

   “Network.” Plaintiff alleges that the Crown Prince, and at his direction and under his control,

   Al Qahtani and Al-Asaker, hatched a scheme to develop a cohesive network of U.S. agents and




                                                    8
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 9 of 55




   other foreign actors on Twitter to disseminate propaganda favorable to the Crown Prince and attack

   his critics (the “Network”). Id. ¶ 38. The Crown Prince, in his personal capacity, is alleged to

   “coordinate[], direct[], and supervise[]” this network of agents to “silence his critics and brutally

   attack his personal enemies.” Id. ¶ 68. According to the Amended Complaint, the Crown Prince

   recruited Al Qahtani and Al-Asaker to assist with the recruitment and hacking stages of the

   Conspiracy. Id. ¶ 293.

          Plaintiff contends that the Crown Prince instructed Al Qahtani and Al-Asaker to “begin

   recruiting individuals to develop an infrastructure on Twitter” in furtherance of the Conspiracy.

   Id. ¶ 294. It is alleged that Zeinab, Al-Owerde, Al Menaia, and Al Otaibi entered into agreements

   with Al Qahtani and Al-Asaker to create the Network. Id. Al Qahtani, as a “trusted friend” of the

   Crown Prince, is alleged to have spearheaded the Conspiracy, leading to the creation of botnets on

   Twitter and using his position as a board member of MiSK Foundation to organize the recruitment

   and establishment of the Network at the Crown Prince’s behest. Id. ¶ 83. Al-Asaker, also in his

   role as an officer of MiSK Foundation, is alleged to have recruited Al Otaibi into the Network, id.

   ¶ 88, who then served as a Recruiting Defendant.

          The Amended Complaint provides the following detail regarding Al Otaibi’s association

   with MiSK Foundation: he received an “Interview Skills Program with Distinction” certificate

   co-issued by Fullbridge Inc. and MiSK Fellowship & Trainership.              Id. ¶¶ 114, 116, 298.

   Otherwise, Al Otaibi allegedly maintains the Twitter handle “@awwadsalotaibi” through which

   he interacts with the named Defendants in the Network, posts pro-Crown Prince propaganda, and

   attacks the Crown Prince’s critics. Id. ¶ 117. Al Otaibi and his family also hosted Van Rider for

   dinner in Riyadh, Saudi Arabia in December of 2019. Id. ¶ 118.




                                                    9
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 10 of 55




           Plaintiff alleges that Recruiting Defendant Zeinab, in his capacity as a Saudi 24 TV

    employee, recruited the named U.S. Defendants to the Network, among other Americans, in 2018

    “at the direction of, and under the control, of Defendants MBS, Al Qahtani, Al-Asaker, as well as

    high-ranking officers of” Saudi 24 TV. Id. ¶¶ 92, 103, 295. Specifically, the Amended Complaint

    alleges that Zeinab has “expressly acknowledged the establishment of a media initiative aimed at

    amplifying pro-Defendant MBS content.”         Id. ¶ 99.    Zeinab operates the Twitter handle

    “@tareklebanon1” through which he personally attacked and defamed Plaintiff, posted pro-Crown

    Prince propaganda, and interacted with the other named Defendants. Id. ¶¶ 96, 98, 101. The

    Amended Complaint alleges that Zeinab “has (publicly and privately) instructed numerous

    members in the Network to post pro-Defendant MBS propaganda videos.” Id. ¶ 102.

           Upon information and belief, Plaintiff claims that Al Menaia agreed to join the Network

    either in or around May of 2018. Id. ¶ 297. According to the Amended Complaint, Al Menaia

    maintains the Twitter handle “@al_menaia”, which he uses to instruct and interact with the other

    named Defendants in concert with Zeinab, post pro-Crown Prince propaganda, and defame

    Plaintiff. Id. ¶¶ 104–106.

           Plaintiff alleges, also upon information and belief, that Al-Owerde agreed to join the

    Network either in or around May of 2018. Id. ¶ 296. Plaintiff claims that Al-Owerde maintains

    the Twitter handle “@Turki_AlOwerde” through which he interacts with and directs the other

    named Defendants in the Network, promotes pro-Crown Prince propaganda, and attacks Plaintiff.

    Id. ¶¶ 110–113. According to Plaintiff, Al-Owerde is also a contributor to The Milli Chronicle,

    whose Twitter account, upon information and belief, is run by Al-Owerde. Id. ¶ 112. He allegedly

    “engaged the U.S.-based Defendants throughout the fall of 2018, indoctrinating them by

    challenging their religious beliefs and influencing them over time.” Id. ¶ 109.




                                                    10
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 11 of 55




            Plaintiff alleges upon information and belief that Van Rider, Jundi, Smith, and Schey are

    paid in connection with their activities in furtherance of the Conspiracy. Id. ¶ 300. Each allegedly

    was recruited into the Network and agreed to take part in the Network’s propaganda efforts, with

    Van Rider, Jundi, and Schey being recruited in May of 2018 “by one or more of the Recruiting

    Defendants,” which for Van Rider and Jundi includes Zeinab. Id. Smith was allegedly recruited

    into the Network in September of 2018. Id.

            Van Rider operates a Twitter account with the handle “@305local”.3 Id. ¶ 39. Before

    2018, Van Rider’s Twitter account, @305local, was not geared toward any political agenda. Id.

    ¶ 40. But, according to Plaintiff, @305local began to post pro-Crown Prince propaganda starting

    in the summer of 2018 and the account began to inexplicably “interact” on Twitter with the other

    named Defendants. Id. ¶¶ 41–42. Van Rider also visited Riyadh, Saudi Arabia in December of

    2019 where she was hosted by Al Otaibi and his family. Id. ¶¶ 43–45. Plaintiff contends that,

    upon information and belief, this trip was funded by “one or more” of the Recruiting Defendants.

    Id. ¶ 46.

            Jundi operates a Twitter account with the handle “@SamJundi”. Id. ¶ 47. The Amended

    Complaint alleges that, like Van Rider and the other U.S. Defendants, Jundi began to post

    pro-Crown Prince propaganda on Twitter starting from the summer of 2018 and began to interact

    with the other named Defendants on Twitter. Id. ¶¶ 49, 51.

            Smith operates a Twitter account with the handle “@orchardcitygal”. Id. ¶ 52. The

    Amended Complaint alleges that, beginning in October of 2018, her Twitter account began to post

    pro-Crown Prince propaganda despite the lack of any apparent connection between Smith and the




    3
      The Twitter handle was later changed to “@usamabroad”, then to “@305local2”, before being
    changed to “@305local”. Am. Compl. ¶ 39.


                                                    11
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 12 of 55




    Crown Prince. Id. ¶ 54. Like Van Rider and Jundi, Smith allegedly interacts with the other named

    Defendants on Twitter, where they all praise Saudi Arabia, the Crown Prince, and the Crown

    Prince’s acolytes, and attack their critics. Id. ¶ 56.

             Schey operates Twitter accounts with the handles “@ScheyChris”, “@christannes”, and

    “@haiya20117586”.        Id. ¶ 57.    According to the Amended Complaint, Schey’s account

    @ScheyChris has been fervently pro-Crown Prince since April of 2018 where it previously was

    not before, and routinely interacts with the other named Defendants. Id. ¶¶ 59–60. When Schey’s

    account @ScheyChris was suspended by Twitter in January of 2021, she continued posting

    pro-Crown Prince propaganda using @haiya20117586. Id. ¶ 61.

             Hacking

             The second stage of the Conspiracy alleged involved the hack of Plaintiff’s mobile device.

    According to the Amended Complaint, the Crown Prince, Al Qahtani, and Al-Asaker “hatched a

    plan to invade [Plaintiff’s] privacy, steal her personal and private information, and disseminate

    such personal information to the public with a false narrative.” Id. ¶ 156. Plaintiff contends that

    her mobile device, an iPhone XS Max, was hacked four times in furtherance of this scheme by

    exploiting vulnerabilities associated with WhatsApp, iMessage, and WebKit to establish remote

    access to her phone and her iCloud. Id. ¶¶ 157–159. Specifically, Plaintiff contends that her phone

    was hacked on or about November 20, 2019; April 14, 2020; July 6, 2020; and July 15, 2020. Id.

    ¶ 159.

             Plaintiff asserts that the hacks on November 20, 2019; July 6, 2020; and July 15, 2020 were

    carried out using a similar methodology, the technical details of which are set out in the Amended

    Complaint, and, notably involved the use of Pegasus spyware technology associated with a server

    in Saudi Arabia. Id. ¶¶ 160, 164–165. These three hacks were carried out by a “threat actor group




                                                      12
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 13 of 55




    operating in Saudi Arabia” at the direction of the Crown Prince, Al Qahtani, and Al-Asaker. Id.

    ¶¶ 161–163. Plaintiff alleges that these hacks are corroborated by the timeline in which personal

    photographs stolen from her device were leaked on social media. Id. ¶ 166.

           In contrast, the Amended Complaint alleges upon information and belief that the fourth

    hack, on April 14, 2020, was effectuated by DarkMatter using a Moroccan phone number; Plaintiff

    asserts upon information and belief that this fourth hack was coordinated with the Crown Prince.

    Id. ¶¶ 167–172.

           The content stolen from Plaintiff’s phone included, among other things, personal

    photographs of herself smoking a cigarette and drinking alcohol with friends, id. ¶ 176, and a

    private video of Plaintiff in a hot tub that her husband had recorded and which, prior to being

    disseminated, was doctored to make her appear nude, id. ¶ 177.

           Dissemination and Defamation

           In the third stage of the Conspiracy, Plaintiff asserts that her stolen photographs were later

    leaked to and disseminated by the Network—the amplification of which was intended to defame,

    harass, and/or intimidate her. For example, Plaintiff alleges that, on February 17, 2020, Al Arabiya

    posted purportedly leaked documents to its Twitter account that supposedly showed that Plaintiff,

    and other Al Jazeera journalists, had been paid large financial bonuses by the Emir of Qatar. Id.

    ¶¶ 179–180. Plaintiff contends that these photographs were falsified and doctored, and that

    Al Arabiya posted them at the behest and under the control of the Crown Prince with the purpose

    of harming Plaintiff’s integrity. Id. ¶¶ 180–182.

           In addition, Plaintiff asserts that the Crown Prince directed Al Qahtani and Al-Asaker to

    create “bot” social media accounts to spread leaked and doctored content about her, including the

    photographs of her smoking and drinking alcohol, by among other means, posting the same to




                                                    13
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 14 of 55




    Twitter, responding to Plaintiff’s tweets, and reposting links to these tweets on a social media

    platform called Telegram. Id. ¶¶ 184–189. According to the Amended Complaint, eight months

    after the Crown Prince, Al Qahtani, and Al-Asaker orchestrated the hack of Plaintiff’s phone, these

    same bot accounts posted and amplified the doctored screenshots of the video of Plaintiff in a hot

    tub until they had been seen by thousands, with the indication that there was more that would be

    leaked. Id. ¶¶ 190–194.

           According to Plaintiff, the Crown Prince, Al Qahtani, and Al-Asaker then utilized the

    Network which, under the instructions of the Recruiting Defendants, spread the content leaked by

    the bot social media accounts by, principally, retweeting each other’s tweets. Id. ¶¶ 195–197. For

    example, Plaintiff contends that Van Rider took part by replying to Plaintiff’s tweets with what

    Plaintiff contends are defamatory statements, and by retweeting the smoking, drinking, and hot

    tub photographs, all under the “directed strategy of Defendants MBS, Al Qahtani, and Al-Asaker.”

    Id. ¶¶ 198–205. Plaintiff alleges that Van Rider’s tweets in furtherance of the Conspiracy were

    intended to defame, embarrass, and harass her. Id. ¶¶ 206–207.

           Similar to Van Rider, Plaintiff contends that Jundi has attacked Plaintiff’s tweets

    containing her opinions about Saudi Arabia’s human rights record by, among other means,

    responding with praise for Saudi Arabia, posting a fabricated tweet purportedly tweeted by

    Plaintiff, attacking third parties for tweeting in support of Plaintiff, tweeting about Plaintiff’s

    father, and calling Plaintiff a traitor and hypocrite. Id. ¶¶ 210–217, 308.

           Analogous allegations are lodged against Smith. Plaintiff contends that Smith, using

    Twitter, has accused Plaintiff of choosing a “mercenary path” against Saudi Arabia; postulated

    that Plaintiff is lucky she has not suffered the same fate as a Saudi Arabian woman who was

    imprisoned and tortured for driving a car; posted the stolen photographs of Plaintiff drinking,




                                                     14
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 15 of 55




    smoking, and in a hot tub; tweeted that Plaintiff is a “propagandist”; and, retweeted the tweets of

    other members of the Network. Id. ¶¶ 220–224, 308. Like Van Rider and Jundi, Plaintiff asserts

    that Smith engaged in the foregoing activities all at the instruction of the Recruiting Defendants

    under the direction of the Crown Prince, Al Qahtani, and Al-Asaker. Id. ¶ 225.

           Plaintiff contends that Schey also engaged in the same conduct, including by tweeting that

    Plaintiff is a “troll” for “terrorists” and by retweeting numerous allegedly defamatory tweets posted

    by the @KateStewart22 Twitter account, which upon information and belief is run by Al Qahtani.

    Id. ¶¶ 228–232, 308. And, as to the @KateStewart22 account, Plaintiff alleges that whoever is

    behind the account has harassed her on Twitter since 2019, which ultimately led Plaintiff to block

    the account on Twitter. Id. ¶ 236.

           Because of Defendants’ conduct, Plaintiff contends that she has suffered harassment and

    threats from Defendants’ “social media influence army,” and has had to block over 300 foreign

    numbers due to scam and harassment calls. Id. ¶ 243. Plaintiff claims that she has suffered

    reputational harm, loss of business opportunities, and income as a result, and is now afraid to visit

    her family in Florida. Id. ¶¶ 245, 310.

           Plaintiff’s Claims

           Based on the foregoing, Plaintiff’s Amended Complaint asserts six claims, two arising

    under federal law and four arising under Florida common law. See generally id. Plaintiff’s first

    claim relates to the hack of her cell phone and subsequent dissemination of materials stolen

    therefrom. This claim is brought under the Alien Tort Statute, 28 U.S.C. § 1350, against the Crown

    Prince, Al Qahtani, and Al-Asaker. Id. ¶¶ 249–257.

           Plaintiff’s second claim arises under the Computer Fraud and Abuse Act, 18 U.S.C.

    §§ 1030(b), 1030(a)(2)(C), and is based on largely the same alleged hacking conduct as that




                                                     15
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 16 of 55




    forming the basis of her first claim. Plaintiff asserts this claim against the Crown Prince,

    DarkMatter, Al Qahtani, and Al-Asaker. Id. ¶¶ 258–268.

           Plaintiff’s third claim is for intentional infliction of emotional distress, arising under

    Florida law. It is brought against all Defendants. Id. ¶¶ 269–274. Specifically, Plaintiff’s

    intentional infliction of emotional distress claim is brought against the Crown Prince, Al Qahtani,

    Al-Asaker, and DarkMatter for allegedly intentionally hacking her mobile device to obtain her

    personal data and files. Id. ¶ 270. This claim is also brought against Al Arabiya, Saudi 24 TV,

    Zeinab, Al-Owerde, Al Menaia, Al Otaibi, Van Rider, Jundi, Smith, and Schey for their repeated

    harassment and intimidation of Plaintiff on the internet. Id. ¶ 270.

           Plaintiff’s fourth claim is for intrusion, arising under Florida law. It is brought against the

    Crown Prince, DarkMatter, Al Qahtani, and Al-Asaker for overseeing the alleged “hacking, theft,

    and doctoring of images and personal information” from Plaintiff’s mobile device, which was then

    disseminated to others without Plaintiff’s consent. Id. ¶¶ 275–280.

           Plaintiff’s fifth claim is for libel, arising under Florida law. It is brought against Van

    Rider, Jundi, Smith, Schey, Al Arabiya, Al-Owerde, Al Menaia, and Al Otaibi for various alleged

    defamatory actions occurring on the internet. Id. ¶¶ 281–291.

           Last, Plaintiff’s sixth claim is for civil conspiracy, arising under Florida law. It is brought

    against all Defendants based on the Crown Prince’s ongoing “scheme to intimidate, defame and

    otherwise silence” Plaintiff for her reporting on the Crown Prince’s role in the high-profile killing

    of Jamal Khashoggi. Id. ¶¶ 292–311.

           Now, Defendants move to dismiss the Amended Complaint on various grounds, including

    (1) lack of personal jurisdiction, (2) lack of subject matter jurisdiction, and (3) for failure to state

    a claim. See generally Mots. to Dismiss.




                                                      16
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 17 of 55




    II.      LEGAL STANDARDS

             A. Personal Jurisdiction.

             Federal Rule of Civil Procedure 12(b)(2) provides that a court may dismiss a complaint for

    lack of personal jurisdiction. Fed. R. Civ. P. 12(b)(2). “A plaintiff seeking the exercise of personal

    jurisdiction over a nonresident defendant bears the initial burden of alleging in the complaint

    sufficient facts to make out a prima facie case of jurisdiction.” United Techs. Corp. v. Mazer, 556

    F.3d 1260, 1274 (11th Cir. 2009). In assessing whether a nonresident is subject to exercise of

    personal jurisdiction, federal courts must determine “whether the exercise of jurisdiction

    (1) comports with the long-arm statute of the forum . . . ; and (2) does not violate the Due Process

    Clause of the Fourteenth Amendment.” Virgin Health Corp. v. Virgin Enters. Ltd., 393 F. App’x

    623, 626 (11th Cir. 2010).

             Federal courts engage in a three-part burden-shifting analysis when a defendant asserts lack

    of personal jurisdiction. See Diulus v. Am. Express Travel Related Servs. Co., Inc., 823 F. App’x

    843, 848 (11th Cir. 2020). “First, the plaintiff ‘bears the initial burden of alleging in the complaint

    sufficient facts to make out a prima facie case of jurisdiction.’” Id. (quoting Mazer, 556 F.3d at

    1274).    “Second, if the complaint alleged sufficient facts, and ‘the defendant challenges

    jurisdiction by submitting affidavit evidence in support of its position, the burden traditionally

    shifts back to the plaintiff to produce evidence supporting its jurisdiction.’” Id. (quoting Mazer,

    556 F.3d at 1274). “Third, ‘where the plaintiff’s complaint and supporting evidence conflict with

    the defendant’s affidavits, the court must construe all reasonable inferences in favor of the

    plaintiff.’” Id. (quoting Diamond Crystal Brands, Inc. v. Food Movers Int’l, Inc., 593 F.3d 1249,

    1257 (11th Cir. 2010)). The Court must assess its personal jurisdiction over each defendant




                                                      17
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 18 of 55




    separately. Stubbs v. Wyndham Nassau Resort & Crystal Palace Casino, 447 F.3d 1357, 1360

    (11th Cir. 2006).

           B. Subject Matter Jurisdiction.

           Federal Rule of Civil Procedure 12(b)(1) provides that a court may dismiss a complaint for

    lack of subject matter jurisdiction. Fed. R. Civ. P. 12(b)(1). “Federal courts are courts of limited

    jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). “It is to be

    presumed that a cause lies outside this limited jurisdiction, and the burden of establishing the

    contrary rests upon the party asserting jurisdiction.” Id. (internal citations omitted). Such

    jurisdiction must be proven by a preponderance of the evidence. Underwriters at Lloyd’s, London

    v. Osting-Schwinn, 613 F.3d 1079, 1085 (11th Cir. 2010). “Attacks on subject matter jurisdiction

    under Fed. R. Civ. P. 12(b)(1) come in two forms”: facial and factual attacks. Lawrence v. Dunbar,

    919 F.2d 1525, 1528–29 (11th Cir. 1990) (per curiam). “On a facial attack, a plaintiff is afforded

    safeguards similar to those provided in opposing a Rule 12(b)(6) motion, meaning that the court

    must consider the allegations of the complaint to be true.” Fru Veg Mktg., Inc. v. Vegfruitworld

    Corp., 896 F. Supp. 2d 1175, 1179 (S.D. Fla. 2012). “Factual attacks challenge subject matter

    jurisdiction in fact, irrespective of the pleadings.” Morrison v. Amway Corp., 323 F.3d 920,

    924 n.5 (11th Cir. 2003). The burden is on the party seeking to invoke the Court’s jurisdiction to

    establish that jurisdiction exists. Kokkonen, 511 U.S. at 377. If the Court determines that it lacks

    subject matter jurisdiction, it must dismiss the claim. Steel Co. v. Citizens for a Better Env’t, 523

    U.S. 83, 94 (1998).

           C. Failure to State a Claim.

           Federal Rule of Civil Procedure 12(b)(6) provides that a court may dismiss a complaint for

    failing to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). “To survive a




                                                     18
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 19 of 55




    motion to dismiss, a complaint must contain sufficient factual matter, accepted as true, to state a

    claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation

    and internal quotation marks omitted). This requirement “give[s] the defendant fair notice of what

    the claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

    (2007) (internal citation and alterations omitted). The court takes the plaintiff’s factual allegations

    as true and construes them in the light most favorable to the plaintiff. Pielage v. McConnell, 516

    F.3d 1282, 1284 (11th Cir. 2008).

           A complaint must contain enough facts to plausibly allege the required elements. Watts v.

    Fla. Int’l Univ., 495 F.3d 1289, 1295–96 (11th Cir. 2007). A pleading that offers “a formulaic

    recitation of the elements of a cause of action will not do.” Iqbal, 556 U.S. at 678 (quoting

    Twombly, 550 U.S. at 555). “[C]onclusory allegations, unwarranted deductions of facts or legal

    conclusions masquerading as facts will not prevent dismissal.” Oxford Asset Mgmt., Ltd. v.

    Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002).

    III.   DISCUSSION

           The Court begins by noting that it must first satisfy itself of its jurisdiction. Ruhrgas AG

    v. Marathon Oil Co., 526 U.S. 574, 583 (1999). “[A] federal court generally may not rule on the

    merits of a case without first determining that it has jurisdiction over the category of claim in suit

    (subject-matter jurisdiction) and the parties (personal jurisdiction).” Sinochem Int’l Co. v. Malay.

    Int’l Shipping Corp., 549 U.S. 422, 430–31 (2007) (citing Steel Co., 523 U.S. at 93–102). While

    “jurisdictional questions ordinarily must precede merits determinations in dispositional

    order . . . there is no mandatory ‘sequencing of jurisdictional issues.’” Id. at 431 (quoting Ruhrgas,

    526 U.S. at 584). Rather, “[i]n appropriate circumstances . . . a court may dismiss for lack of

    personal jurisdiction without first establishing subject-matter jurisdiction.” Id. (citing Ruhrgas,




                                                      19
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 20 of 55




    526 U.S. at 578). Both Steel Co. and Ruhrgas recognize that a federal court may “choose among

    threshold grounds for denying audience to a case on the merits.” Ruhrgas, 526 U.S. at 585; Steel

    Co., 523 U.S. at 100–01 n.3. Accordingly, where jurisdictional grounds are raised for dismissal

    concurrent with arguments that the Amended Complaint fails to state a claim, the Court begins by

    addressing a moving defendant’s jurisdictional arguments.

           To that end and to the extent applicable, the Court first addresses personal jurisdiction

    arguments for each Defendant who raises the issue. Here, all Foreign Defendants seek dismissal

    on personal jurisdiction grounds. See generally (ECF Nos. 161, 163–169). As is further set forth

    below, the Court finds that it lacks personal jurisdiction over the four Foreign Defendants against

    whom Plaintiff asserts claims arising under federal law. See infra III.A. Because all other claims

    against the remaining Defendants, both foreign and domestic, arise under this Court’s

    supplemental jurisdiction, the Court declines to exercise supplemental jurisdiction and dismisses

    the Amended Complaint without prejudice. See infra III.B.

           A.      Personal Jurisdiction Over the Foreign Defendants.

           The following Defendants move to dismiss for lack of personal jurisdiction: the Crown

    Prince, Al Menaia, Al Otaibi, Al-Owerde, Zeinab, Al Qahtani, DarkMatter, MiSK Foundation,

    Al-Asaker, Al Arabiya, and Saudi 24 TV. See generally (ECF Nos. 161, 163–169). Plaintiff

    asserts that this Court has personal jurisdiction over the Foreign Defendants in this case because

    each Foreign Defendant “(1) committed a tortious act within the state of Florida personally or

    through an agent and (2) engaged in intentional tortious conduct which was directed at and

    occurred in the United States.” Resp. at 26. The Court begins its analysis by reviewing relevant

    principles applicable to this Court’s personal jurisdiction.




                                                     20
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 21 of 55




                   1.      Personal Jurisdiction Principles.

           As noted earlier, in assessing whether a nonresident defendant is subject to the exercise of

    personal jurisdiction, federal courts must determine “whether the exercise of jurisdiction

    (1) comports with the long-arm statute of the forum . . . ; and (2) does not violate the Due Process

    Clause.” Virgin Health Corp., 393 F. App’x at 626.

                           a.      Long-Arm Statutes.

           Plaintiff’s Amended Complaint asserts that this Court has personal jurisdiction over the

    following Foreign Defendants pursuant to Federal Rule of Civil Procedure 4(k)(2): the Crown

    Prince, DarkMatter, Al Arabiya, Saudi 24 TV, Al Qahtani, Al-Asaker, MiSK Foundation, Zeinab,

    Al-Owerde, and Al Otaibi. Am. Compl. ¶ 124. In the alternative, Plaintiff asserts that this Court

    has personal jurisdiction over all Defendants pursuant to Florida’s long-arm statute. The Court

    reviews principles applicable to both Florida’s long-arm statute and Rule 4(k)(2) below, starting

    first with Florida’s long-arm statute.

                                   i.        Florida’s Long-Arm Statute.

           Under Federal Rule of Civil Procedure 4(k)(1)(A), federal courts apply the long-arm statute

    of the forum-state—in this case, Florida. “Florida’s long-arm statute provides for both general

    and specific personal jurisdiction.” Louis Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1352

    (11th Cir. 2013) (citing § 48.193(1)–(2)). The Eleventh Circuit has explained that

           [a] defendant can be subject to personal jurisdiction under Florida’s long-arm
           statute in two ways: first, section 48.193(1)(a) lists acts that subject a defendant to
           specific personal jurisdiction—that is, jurisdiction over suits that arise out of or
           relate to a defendant’s contacts with Florida, Fla. Stat. § 48.193(1)(a); and second,
           section 48.193(2) provides that Florida courts may exercise general personal
           jurisdiction—that is, jurisdiction over any claims against a defendant, whether or
           not they involve the defendant’s activities in Florida—if the defendant engages in
           “substantial and not isolated activity” in Florida, id. § 48.193(2).




                                                      21
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 22 of 55




    Carmouche v. Tamborlee Mgmt., Inc., 789 F.3d 1201, 1203–04 (11th Cir. 2015) (emphasis in

    original).

            Florida’s long-arm statute’s provision for specific personal jurisdiction reads in pertinent

    part as follows4:

            (1)(a) A person, whether or not a citizen or resident of this state, who personally or
            through an agent does any of the acts enumerated in this subsection thereby submits
            himself or herself and, if he or she is a natural person, his or her personal
            representative to the jurisdiction of the courts of this state for any cause of action
            arising from any of the following acts:
                   [ . . .]
                   2. Committing a tortious act within this state.

    Fla. Stat. § 48.193.

            “The reach of the Florida long-arm statute is a question of Florida law.” Meier ex rel.

    Meier v. Sun Int’l Hotels, Ltd., 288 F.3d 1264, 1271 (11th Cir. 2002) (cleaned up) (“[F]ederal

    courts are required to construe [such law] as would the Florida Supreme Court.” (alterations in

    original)). As used in § 48.193(1)(a), “the term ‘arising from’ is somewhat broader than the

    concept of proximate cause,” thus, “under Florida law there must nevertheless be some ‘direct

    affiliation,’ ‘nexus,’ or ‘substantial connection’ between the cause of action and the activities

    within the state.” St. Martinus Univ., NV v. Caribbean Health Holding, LLC, No. 19-22278-CIV,

    2020 WL 956301, at *10 (S.D. Fla. Feb. 27, 2020), appeal dismissed sub nom. St. Martinus Univ.

    v. Caribbean Health Holding, LLC, No. 20-11991-EE, 2020 WL 7018197 (11th Cir. Sept. 28,

    2020). Courts strictly construe Florida’s long-arm statute in favor of the nonresident defendant.




    4
      The reach of Florida’s long-arm statute’s provision for general personal jurisdiction “extends to
    the limits on personal jurisdiction imposed by the Due Process Clause of the Fourteenth
    Amendment.” Fraser v. Smith, 594 F.3d 842, 846 (11th Cir. 2010) (citing Woods v. Nova Cos.
    Belize, 739 So.2d 617, 620 (Fla. Dist. Ct. App. 1999)). Plaintiff does not contend that this Court
    has general personal jurisdiction over the Foreign Defendants under Florida’s long-arm statute.
    See generally Am. Compl.; Resp.


                                                     22
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 23 of 55




    Stonepeak Partners, LP v. Tall Tower Cap., LLC, 231 So. 3d 548, 552 (Fla. Dist. Ct. App. 2017).

    “[U]nder Florida law, a nonresident defendant commits ‘a tortious act within [Florida]’ when he

    commits an act outside the state that causes injury within Florida.” Louis Vuitton, 736 F.3d at

    1353 (quoting Licciardello v. Lovelady, 544 F.3d 1280, 1283 (11th Cir. 2008). The Florida

    long-arm statute also permits the exercise of personal jurisdiction over nonresident co-defendants

    in civil conspiracy cases, as discussed in further detail below. See Parisi v. Kingston, 314 So. 3d

    656, 660–61 (Fla. Dist. Ct. App. 2021).

                                    ii.     Federal Rule of Civil Procedure 4(k)(2).

            Federal Rule of Civil Procedure 4(k)(2) provides that, “[f]or a claim that arises under

    federal law, serving a summons or filing a waiver of service establishes personal jurisdiction over

    a defendant if: (A) the defendant is not subject to jurisdiction in any state’s courts of general

    jurisdiction; and (B) exercising jurisdiction is consistent with the United States Constitution and

    laws.” Fed. R. Civ. P. 4(k)(2). “A district court is not required to analyze the laws of all fifty

    states to ascertain whether any state court of general jurisdiction has jurisdiction over the

    defendant.” Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d 1210, 1218 n.22 (11th Cir. 2009).

    Rather, as the Eleventh Circuit has recognized, “[i]f . . . the defendant contends that he cannot be

    sued in the forum state and refuses to identify any other where suit is possible, then the federal

    court is entitled to use Rule 4(k)(2).” Id. (alterations in original).

                            b.      Due Process Clauses of the Fifth and Fourteenth Amendments.

            The Court’s exercise of personal jurisdiction over a nonresident defendant must also

    comport with the due process requirements of the United States Constitution. As the Eleventh

    Circuit has observed, “decisions interpreting the Fourteenth Amendment’s Due Process Clause

    guide [courts] in determining what due process requires in the Fifth Amendment jurisdictional




                                                       23
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 24 of 55




    context.” Oldfield, 558 F.3d at 1219 n.25. Where jurisdiction is invoked under Federal Rule of

    Civil Procedure 4(k)(2), the relevant forum is the United States instead of Florida under the

    Fourteenth Amendment. See Fraser v. Smith, 594 F.3d 842, 850 (11th Cir. 2010) (discussing

    contacts with the United States).

           Due Process limits the power of a court to exercise personal jurisdiction over a defendant.

    Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1024 (2021) (citing Int’l Shoe Co.

    v. Washington, 326 U.S. 310 (1945)). Federal courts in the Eleventh Circuit apply a three-prong

    due process test in specific personal jurisdiction cases, “which examines (1) whether the plaintiff’s

    claims ‘arise out of or relate to’ at least one of the defendant’s contacts with the forum; (2) whether

    the nonresident defendant ‘purposely availed’ himself of the privilege of conducting activities

    within the forum state, thus invoking the benefit of the forum state’s law; and (3) whether the

    exercise of personal jurisdiction comports with ‘traditional notions of fair play and substantial

    justice.’” Louis Vuitton, 736 F.3d at 1355 (quoting Burger King Corp. v. Rudzewicz, 471 U.S.

    462, 474–75 (1985)). “The plaintiff bears the burden of establishing the first two prongs, and if

    the plaintiff does so, ‘a defendant must make a “compelling case” that the exercise of jurisdiction

    would violate the traditional notions of fair play and substantial justice.’” Id. (quoting Diamond

    Crystal Brands, 593 F.3d at 1267). The Due Process requirements in specific personal jurisdiction

    cases are, generally, not as strict as in general personal jurisdiction cases because, in general

    personal jurisdiction cases, “there is no requirement of a connection between the defendant’s

    activities and the cause of action.” See Exhibit Icons, LLC v. XP Companies, LLC, 609 F. Supp.

    2d 1282, 1295 (S.D. Fla. 2009).

                                   i.      Prong One: “Arising Out of” or Relatedness.

           “‘[A] fundamental element of the specific jurisdiction calculus is that plaintiff’s claim must




                                                      24
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 25 of 55




    arise out of or relate to at least one of the defendant’s contacts with the forum.’” Louis Vuitton,

    736 F.3d at 1355 (quoting Fraser, 594 F.3d at 850). “[F]or a court to exercise specific jurisdiction

    over a claim, there must be an ‘affiliation between the forum and the underlying controversy,

    principally, [an] activity or an occurrence that takes place in the forum.” Bristol-Myers Squibb

    Co. v. Superior Ct., 137 S. Ct. 1773, 1781 (2017) (quoting Goodyear Dunlop Tires Operations,

    S.A. v. Brown, 564 U.S. 915, 919 (2011)). “When there is no such connection, specific jurisdiction

    is lacking regardless of the extent of a defendants unconnected activities in the [forum].” Id.

    “What is needed . . . is a connection between the forum and the specific claims at issue.” Id. The

    connection need not be causal in nature. See Ford Motor Co., 141 S. Ct. at 1026 (“None of our

    precedents has suggested that only a strict causal relationship between the defendant’s in-state

    activity and the litigation will do.”). Nonetheless, the “relationship among the defendant, the

    forum, and the litigation” must be strong. Id. at 1028 (quoting Helicopteros Nacionales de

    Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984).

                                  ii.     Prong Two: Purposeful Availment.

           “In intentional tort cases, there are two applicable tests for determining whether purposeful

    availment occurred.” Louis Vuitton, 736 F.3d at 1356 (emphasis omitted). There is the “effects

    test,” which derives from Calder v. Jones, 465 U.S. 783 (1984). See id. Under this test, the

    exercise of personal jurisdiction in the context of an intentional tort is proper where the tort:

    “(1) was intentional; (2) was aimed at the forum state; and (3) caused harm that the defendant

    should have anticipated would be suffered in the forum state.” Id. (alterations incorporated)

    (quoting Licciardello, 544 F.3d at 1285–86, 1287–88).

           There is also the traditional minimum contacts test, where courts “assess the nonresident

    defendant’s contacts with the forum state and ask whether those contacts: (1) are related to the




                                                    25
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 26 of 55




    plaintiff’s cause of action; (2) involve some act by which the defendant purposely availed himself

    of the privileges of doing business with the forum; and (3) are such that the defendant should

    reasonably anticipate being haled into court in the forum.” Louis Vuitton, 736 F.3d at 1357 (citing

    SEC v. Carrillo, 115 F.3d 1540, 1542 (11th Cir. 1997)). “In specific jurisdiction cases, the ‘fair

    warning requirement is satisfied if the defendant has purposely directed his activities at residents

    of the forum . . . and the litigation results from alleged injuries that arise out of or relate to those

    activities.’” Diamond Crystal Brands, 593 F.3d at 1267 (quoting Burger King, 471 U.S. at 472–

    73). “[N]either merely contracting with a forum resident nor the forum resident’s unilateral acts

    can establish sufficient minimum contacts. . . . Jurisdiction is often found where further contacts

    or plus factors connect the defendant to the jurisdiction.” Id. at 1268 (citing to several factors

    courts consider in the context of contractual relationships and finding that the “plus factors and

    further contacts are not talismans,” but that they “indicate that the defendant deliberately affiliated

    with the forum . . . and thus should reasonably anticipate defending a suit there”) (internal

    quotation marks and citation omitted). “[T]he minimum contacts analysis is ‘immune to solution’

    by checklist.” Id. at 1267–68 (quoting Sloss Indus. Corp. v. Eurisol, 488 F.3d 922, 925 (11th Cir.

    2007)).

                                    iii.    Prong Three: “Fair Play and Substantial Justice”

              In assessing whether the exercise of personal jurisdiction “comports with fair play and

    substantial justice,” courts consider the following factors: “(1) the burden on the defendant; (2) the

    forum’s interest in adjudicating the dispute; (3) the plaintiff’s interest in obtaining convenient and

    effective relief; and (4) the judicial system’s interest in resolving the dispute.” Louis Vuitton, 736

    F.3d at 1358 (internal quotation marks and citations omitted).




                                                      26
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 27 of 55




                    2.      Application

             For those Foreign Defendants against whom Plaintiff asserts federal law claims, the Court

    addresses each defendant’s arguments that the Court lacks personal jurisdiction over them in turn,

    starting with the Crown Prince.

                            a.     The Crown Prince.

             Plaintiff’s Amended Complaint asserts five claims against the Crown Prince: two federal

    claims (one under the ATS and the other under the CFAA), and three state law claims arising under

    Florida law (intentional infliction of emotional distress, intrusion, and civil conspiracy). See

    generally Am. Compl. The Court concludes that it lacks personal jurisdiction over the Crown

    Prince for all claims asserted against him in the Amended Complaint for the reasons set forth

    below.

             The Court begins its analysis by addressing whether the Florida long-arm statute authorizes

    the exercise of personal jurisdiction over the Crown Prince. Concluding that it does not, the Court

    nonetheless addresses whether the exercise of personal jurisdiction would comport with the

    requirements of the Due Process Clause of the Fourteenth Amendment. The Court also finds that

    the exercise of personal jurisdiction over the Crown Prince as to Plaintiffs’ federal claims,

    likewise, would, in any event, not comport with the requirements of Federal Rule of Civil

    Procedure 4(k)(2) and the Due Process Clause of the Fifth Amendment.

                                   i.      Florida Long-Arm Statute

             This Court does not have personal jurisdiction over the Crown Prince under the Florida

    long-arm statute. Plaintiff rests her hat on civil conspiracy-based personal jurisdiction under the

    Florida long-arm statute as to all Defendants. See Resp. at 28–30. Florida’s long-arm statute




                                                     27
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 28 of 55




    permits the exercise of personal jurisdiction over nonresident defendants for civil conspiracy

    claims as follows:

           If a plaintiff has successfully alleged a cause of action for conspiracy among the
           defendants to commit tortious acts toward the plaintiff, and if the plaintiff has
           successfully alleged that any member of that conspiracy committed tortious acts in
           Florida in furtherance of that conspiracy, then all of the conspirators are subject to
           the jurisdiction of Florida through its long-arm statute.

    Parisi, 314 So. 3d at 660–61 (alterations incorporated) (citations omitted). Courts in Florida will

    “decline to apply the co-conspirator theory to extend jurisdiction over nonresidents if the plaintiff

    fails to plead with specificity any facts supporting the existence of the conspiracy and provides

    nothing more than vague and conclusory allegations regarding a conspiracy involving the

    defendants.” Id. at 661.

           Under Florida law, “[t]o plead civil conspiracy, a plaintiff must allege ‘(a) an agreement

    between two or more parties, (b) to do an unlawful act or to do a lawful act by unlawful means,

    (c) the doing of some overt act in pursuance of the conspiracy, and (d) damage to plaintiff as a

    result of the acts done under the conspiracy.’” Alhassid v. Bank of Am., N.A., 60 F. Supp. 3d 1302,

    1316 (S.D. Fla. 2014) (quoting Cordell Consultant, Inc. Money Purchase Plan & Tr. v. Abbott,

    561 F. App’x 882, 886 (11th Cir. 2014)).

           Here, the allegations in the Amended Complaint that U.S. Defendants Jundi and Van Rider

    agreed to participate in the Conspiracy are either speculative, conclusory, or both. There are no

    nonconclusory facts in the Amended Complaint that provide context or a factual predicate for the

    alleged recruitment of Van Rider and Jundi into the Conspiracy. Rather, the Amended Complaint

    asserts in a conclusory fashion that Jundi and Van Rider agreed to “take part in the Network’s

    propaganda efforts,” and vaguely alleges only when both were recruited into the Network “by one

    or more of the Recruiting Defendants, including Defendant Zeinab.” Am. Compl. ¶¶ 300, 302,




                                                     28
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 29 of 55




    305, 306, 308 (emphasis added); see Meridian Tr. Co. v. Batista, No. 17-23051, 2018 WL

    4693533, at *6 (S.D. Fla. Sept. 26, 2018) (dismissing civil conspiracy claim as conclusory where

    there was no “factual predicate to demonstrate that [defendant] ‘agreed’ with other defendants to

    defraud Plaintiffs” because the majority of allegations were made upon information and belief);

    see also Mann v. Palmer, 713 F.3d 1306, 1315 (11th Cir. 2013) (citing Twombly, 550 U.S. at 551,

    557) (observing that courts may decline to take as true conclusory allegations made “upon

    information and belief”).    Notably, however, the Amended Complaint earlier alleges upon

    information and belief that Zeinab recruited the U.S. Defendants into the Conspiracy. Am.

    Compl. ¶ 92. This is not the only allegation made upon information and belief that Plaintiff asserts

    in support of her civil conspiracy claim. It is alleged upon information and belief that Van Rider

    disseminated images of Plaintiff with the intent to further the Conspiracy. Id. ¶ 306. The Amended

    Complaint also alleges that Van Rider attended dinner with Al Otaibi and his family in Riyadh,

    Saudi Arabia in December of 2019, which occurred over a year after she allegedly agreed to join

    the Conspiracy.5 Id. ¶¶ 118. But it is speculated earlier in the Amended Complain upon

    information and belief that “one or more” of the Recruiting Defendants paid for this trip in

    furtherance of the Conspiracy. Id. ¶ 46. As discussed below, it is also speculated, upon

    information and belief, that the U.S. Defendants are paid for their activities in furtherance of the

    Conspiracy. Id. ¶ 300. And it is also speculated upon information and belief that two other

    Recruiting Defendants—Al Menaia and Al-Owerde—agreed to be members of the Conspiracy.

    Id. ¶¶ 296–297.




    5
     The Amended Complaint does not allege that Al Otaibi recruited Van Rider into the Conspiracy.
    Rather it vaguely asserts, as noted above, that she was recruited “by one or more of the Recruiting
    Defendants, including Defendant Zeinab.”


                                                    29
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 30 of 55




           In short, the Amended Complaint offers no nonconclusory allegations that the two U.S.

    Defendants residing in Florida—Jundi and Van Rider—agreed to participate in the Conspiracy.

    For this reason, Plaintiff cannot establish that this Court has personal jurisdiction over the Crown

    Prince, or any Defendant for that matter, based on the activities of alleged co-conspirators Jundi

    and Van Rider in Florida.

           Nor is this Court authorized to exercise personal jurisdiction over the Crown Prince under

    Florida’s long-arm statute under an alter ego theory of personal jurisdiction. The Amended

    Complaint alleges that Al Arabiya, Saudi 24 TV, and MiSK Foundation are all alter egos of the

    Crown Prince in his personal capacity. Id. ¶ 133. Specifically, the Amended Complaint alleges

    that the Crown Prince extorted a 60 percent majority ownership in Al Arabiya. Id. ¶ 134. As to

    Saudi TV 24, the Amended Complaint speculates upon information and belief that the Crown

    Prince “directs and controls the commercial activities and employees of Defendant Saudi 24 TV.”

    Id. ¶ 136. As to MiSK Foundation, the Amended Complaint alleges that MiSK Foundation was

    created by the Crown Prince in his personal capacity. Id. ¶ 137.

           “Florida law is clear that, generally, ‘the actions of a corporation cannot be imputed to its

    shareholders for purposes of establishing long arm personal jurisdiction over the shareholder.’”

    Mother Doe I v. Al Maktoum, 632 F. Supp. 2d 1130, 1140 (S.D. Fla. 2007) (quoting Suroor v. First

    Inv. Corp., 700 So.2d 139, 141 (Fla. Dist. Ct. App. 1997)). To overcome this rule, “[a] nonresident

    shareholder of a corporation doing business in Florida may be subject to long-arm jurisdiction

    under an alter ego theory” where the plaintiff alleges “both that the resident corporation was a

    mere instrumentality of its shareholders, and that the corporation was used for improper conduct.”

    Id. (emphasis added) (quoting Aldea Commc’ns, Inc. v. Gardner, 725 So. 2d 456, 457 (Fla. Dist.

    Ct. App. 1999); Bellairs v. Mohrmann, 716 So. 2d 320, 323 (Fla. Dist. Ct. App. 1998)).




                                                    30
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 31 of 55




           Here, however, the Amended Complaint does not assert that any of the Crown Prince’s

    alleged alter egos are based in Florida, let alone that they conduct business in Florida. See

    generally Am. Compl. According to the Amended Complaint, MiSK Foundation serves as a front

    to further the Crown Prince, Al Qahtani, and Al-Asaker’s objectives in “creating a network of

    foreign and domestic agents willing to carry out unlawful discrete operations here in the U.S.,

    including the Conspiracy against [Plaintiff].” Id. ¶ 94. However, the Amended Complaint does

    not allege that the two U.S. Defendants residing in Florida, let alone any U.S. Defendant, were

    recruited through MiSK Foundation, much less that MiSK Foundation operates in Florida. Rather,

    the only Defendant in this case alleged to have been recruited through MiSK Foundation is

    Al Otaibi and there is no indication that his recruitment occurred in Florida or was in any way

    connected to Florida.6 Id. ¶¶ 298–299. As to Saudi 24 TV, the Amended Complaint alleges that

    Saudi 24 TV maintains a studio in Washington, D.C., and alter ego jurisdiction over the Crown

    Prince through Saudi 24 TV appears to be based on the tweets and activities of one of its

    Lebanon-based broadcasters.7 Id. ¶¶ 91, 96. Likewise, Al Arabiya does not maintain any studios



    6
     Further, as discussed below, Al-Asaker, MiSK Foundation’s Secretary General, does not have
    contacts with Florida. The same is true for Al Qahtani, who is identified as a previous board
    member of MiSK Foundation, setting aside that it is not clear based on the Amended Complaint
    when, specifically, Al Qahtani previously served as a board member of MiSK Foundation, Am.
    Compl. ¶¶ 83, 94, and also setting aside whether Al Qahtani’s conduct can be imputed to MiSK
    Foundation in his role as a board member, as opposed to an officer.
    7
      In addition to speculating, upon information and belief, that the Crown Prince dominates Saudi
    24 TV, Am. Compl. ¶ 136, the Amended Complaint also claims upon information and belief that
    Zeinab, who works for Saudi 24 TV in Lebanon, id. ¶ 96, acted at the direction of the Crown
    Prince in furtherance of the conspiracy and instructed the Network to post defamatory tweets about
    Plaintiff, id. ¶ 100. To whatever extent the Amended Complaint purports to assert that this Court
    has personal jurisdiction over the Crown Prince via Saudi 24 TV based on its Lebanon-based
    broadcaster’s Twitter interactions with Van Rider and Jundi, the Court notes that the Amended
    Complaint specifically alleges that Zeinab used his own Twitter account “to personally attack”
    Plaintiff. Id. ¶ 98. Further, beyond a tabulation of the number of Twitter “interactions” Zeinab
    had with the Network, the only direct example of Zeinab’s interactions with Van Rider and Jundi


                                                   31
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 32 of 55




    or offices in Florida and there is no indication that it otherwise does business in this state. See id.

    ¶ 89.

            The Court also finds that Plaintiff’s allegations that two U.S. Defendants residing in Florida

    were instructed to “personally attack Ms. Oueiss on Twitter” by the Recruiting Defendants,

    “operating under the directed strategy” of the Crown Prince, id. ¶¶ 204, 216, are not enough to

    establish that Van Rider and Jundi are agents of the Crown Prince in Florida. Given the number

    of layers alleged in the Conspiracy and the lack of any alleged direct communications between the

    U.S. Defendants and the Crown Prince, it is not clear what level of control, if any, the Crown

    Prince actually maintained over the U.S. Defendants. See Jackson-Davis v. Carnival Corp., No.

    17-24089-CIV, 2018 WL 1468665, at *4 (S.D. Fla. Mar. 23, 2018) (“The elements of an actual

    agency relationship are (1) acknowledgment by the principal that the agent will act for him, (2) the

    agent’s acceptance of the undertaking, and (3) control by the principal over the actions of the

    agent.”); see also Daimler AG v. Bauman, 571 U.S. 117, 135 n.13 (2014) (noting the relevance of

    agency relationships to specific personal jurisdiction); Hard Candy, LLC v. Hard Candy Fitness,

    LLC, 106 F. Supp. 3d 1231, 1241 (S.D. Fla. 2015) (noting that, in the context of corporate parents

    and subsidiaries, “[j]urisdictional contacts will not be imputed in the absence of such a high degree

    of control”).

            Further, the Amended Complaint’s consistent references to the U.S. Defendants’ failure to

    register with the U.S. Department of Justice under the Foreign Agent Registration Act makes it

    difficult to reconcile Plaintiff’s assertions that the U.S. Defendants are agents of the Crown Prince

    in his personal capacity. See, e.g., Am. Compl. ¶¶ 39, 195, 246–248. The Amended Complaint




    provided in the Amended Complaint is that Zeinab helped Van Rider edit a pro-Crown Prince
    video—as opposed to any defamatory materials related to Plaintiff. Id. ¶ 102.


                                                      32
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 33 of 55




    speculates upon information and belief that the U.S. Defendants are paid for their activities in

    furtherance of the Conspiracy by “Defendant MBS and his agents.” Id. ¶¶ 247, 300. Yet,

    Plaintiff’s persistent references to the Crown Prince’s spearheading the Conspiracy in his personal

    capacity is muddied by her own allegations, which include that Van Rider’s “failure to register

    under the Foreign Agents Registration Act, is in direct conflict with [the Act’s] purpose of ensuring

    that the American people can fully evaluate political communications sponsored by a foreign

    state.” Id. ¶ 39 (emphasis added). In any event, the repeated references to Van Rider and Jundi

    as agents of the Crown Prince are conclusory, and the Court need not credit these allegations in

    assessing whether it has personal jurisdiction over the Crown Prince under the Florida long-arm

    statute. See Snow v. DirecTV, Inc., 450 F.3d 1314, 1318 (11th Cir. 2006). In short, the Amended

    Complaint’s muddied allegations and the number of layers in the alleged Conspiracy make it

    difficult for the Court to find that the U.S. Defendants were in an agency relationship with the

    Crown Prince in his personal capacity, in which he exercised a high degree of control.

           Nor is it clear that the Crown Prince committed a tort in Florida, which the Court discusses

    in further detail below within the context of the Due Process analysis.

           For all these reasons, the Court finds that it lacks personal jurisdiction over the Crown

    Prince under Florida’s long-arm statute.

                                   ii.    Fourteenth Amendment Due Process.

           Independently, Plaintiff fails to establish that the exercise of personal jurisdiction over the

    Crown Prince satisfies the protections of the Fourteenth Amendment Due Process Clause. To the

    extent Plaintiff invokes personal jurisdiction over the Crown Prince pursuant to the Florida

    long-arm statute, Am. Compl. ¶ 129, the Fourteenth Amendment Due Process Clause applies, and

    the relevant forum is Florida, see Fed. R. Civ. P. 4(k)(1)(A). Thus, the Court must look to whether




                                                     33
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 34 of 55




    the Crown Prince’s contacts with Florida permit the exercise of personal jurisdiction over him as

    to Plaintiff’s federal and state law claims.

           As noted above, the Court must determine “(1) whether the plaintiff’s claims ‘arise out of

    or relate to’ at least one of the defendant’s contacts with the forum; (2) whether the nonresident

    defendant ‘purposely availed’ himself of the privilege of conducting activities within the forum

    state, thus invoking the benefit of the forum state’s law; and (3) whether the exercise of personal

    jurisdiction comports with ‘traditional notions of fair play and substantial justice.’” Louis Vuitton,

    736 F.3d at 1355 (quoting Burger King, 471 U.S. at 474–75).

           The Court first makes the following observations. Generally, a court “may not ascribe the

    forum contacts of one co-defendant to another in determining the existence of personal

    jurisdiction.” Fraser, 594 F.3d at 852 (citing Rush v. Savchuk, 444 U.S. 320, 331–33 (1980)); see

    also Rush, 444 U.S. at 332 (“Naturally, the parties’ relationships with each other may be significant

    in evaluating their ties to the forum. The requirements of International Shoe, however, must be

    met as to each defendant over whom a state court exercises jurisdiction.”). This is because “[d]ue

    process requires that a defendant be haled into court in a forum State based on his own affiliation

    with the State, not based on the ‘random, fortuitous, or attenuated’ contacts he makes by interacting

    with other persons affiliated with the State.” Walden v. Fiore, 571 U.S. 277, 286 (2014). As the

    United States Supreme Court has explained, “[t]he relationship must arise out of contacts that the

    ‘defendant himself’ creates with the forum.” Id. at 284 (emphasis in original) (citing Burger King,

    471 U.S. at 475). Further, “‘minimum contacts’ analysis looks to the defendant’s contacts with

    the forum . . . itself, not the defendant’s contacts with persons who reside there.” Id. at 285. The

    Supreme Court recently reiterated that a defendant’s “contacts must be the defendant’s own choice




                                                     34
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 35 of 55




    and not ‘random, isolated, or fortuitous.’” Ford Motor Co., 141 S. Ct. at 1025 (quoting Keeton v.

    Hustler Mag., Inc., 465 U.S. 770, 774 (1984)).

           With these principles in mind, the Court looks to the Crown Prince’s contacts with Florida

    as alleged in the Amended Complaint. The Court finds none.

           First, Plaintiff’s claims against the Crown Prince do not arise out of or relate to the Crown

    Prince’s Florida contacts because, as discussed below, the Crown Prince lacks Florida contacts.

           Second, the allegations in Plaintiff’s Amended Complaint are insufficient to establish that

    the Crown Prince purposefully availed himself of Florida. Plaintiff’s Omnibus Response makes

    clear that the Crown Prince’s contacts with Florida are predicated entirely on the actions of others.

    Specifically, Plaintiff contends that there is personal jurisdiction over the Crown Prince because

    co-Defendant Van Rider, a Florida resident, engaged in overt acts in furtherance of the alleged

    Conspiracy within Florida, which Plaintiff claims were only possible because of alleged hacks

    done at the behest of the Crown Prince. Resp. at 29. Accordingly, Plaintiff argues that her claims

    relate to the Crown Prince’s contacts with Florida via Van Rider. Id. at 31. Plaintiff also argues

    that all Foreign Defendants named in the Amended Complaint, including the Crown Prince,

    purposefully availed themselves of Florida because all Defendants actively sought the participation

    of Florida residents in the Conspiracy, either directly or through other Defendants.8 Id. at 31–32.

           However, the Crown Prince lacks minimum contacts with Florida under the traditional

    minimum contacts test. In that test, courts “assess the nonresident defendant’s contacts with the

    forum state and ask whether those contacts: (1) are related to the plaintiff’s cause of action;




    8
      Plaintiff also contends that exercising personal jurisdiction would not offend traditional notions
    of fair play and substantial justice because Florida has an interest in providing redress for persons
    injured by tortious conduct emanating from Florida, and because the Conspiracy was “hatched on
    behalf of one of the most powerful individuals in the world.” Resp. at 33.


                                                     35
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 36 of 55




    (2) involve some act by which the defendant purposely availed himself of the privileges of doing

    business with the forum; and (3) are such that the defendant should reasonably anticipate being

    haled into court in the forum.” Louis Vuitton, 736 F.3d at 1357 (citing SEC v. Carrillo, 115 F.3d

    1540, 1542 (11th Cir. 1997)). Here, the Crown Prince has no direct or personal contacts with

    Florida. The Amended Complaint does not assert that the Crown Prince—or any Foreign

    Defendant—planned or orchestrated the four alleged hacks in Florida, oversaw the hacks from or

    even directed the hacks at Florida, used hacking tools or means acquired in Florida or from

    Florida-based persons or organizations, directed Florida-based persons or organizations or any

    person or organization with a connection to Florida to conduct the hacks, used Florida-based

    servers to perpetrate these hacks, or personally disseminated Plaintiff’s private information within

    Florida. See generally Am. Compl. Nor was Plaintiff present in Florida when any of the alleged

    hack and leaks occurred.9

           Rather, the advanced hacking tools allegedly used against Plaintiff and her mobile device

    were also allegedly acquired by the Saudi Royal Guard from Israeli and Italian cyber firms, and

    three of the four hacks were linked to a server in Saudi Arabia. Id. ¶¶ 144, 160. Further, as to the

    November 20, 2019 hack of her phone, “persistent access . . . was maintained by a threat actor

    group operating within Saudi Arabia.” Id. ¶ 161. The July 6, 2020 hack “was carried out by a

    threat actor group in Saudi Arabia.” Id. ¶ 162. Further, “[l]ike the first two attacks, a threat actor

    group operating within Saudi Arabia” carried out the July 15, 2020 hack. Id. ¶ 163. The fourth

    hack on April 14, 2020 by the Emirati company DarkMatter was allegedly effectuated via a

    Moroccan phone number. Id. ¶ 168.



    9
       Rather, based on the Amended Complaint, it does not seem that Plaintiff has been to Florida
    since 2014. See Am. Compl. ¶ 36 (noting that Plaintiff traveled to Florida in 2014 to visit family
    members, and has “been to the U.S. as recently as the fall of 2019” (emphasis added)).


                                                     36
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 37 of 55




           Even assuming Plaintiff’s Amended Complaint adequately pleaded the inclusion of Van

    Rider and Jundi in the Conspiracy, Plaintiff would, in any event, not be able to establish that

    conspiracy-based personal jurisdiction over the Crown Prince satisfies the requirements of Due

    Process. Although the Amended Complaint alleges that the Crown Prince intended that the

    Recruiting Defendants recruit members of the Network “from major U.S. cities, such as Miami,

    Florida,”10 Am. Compl. ¶ 208, there is no indication that the Crown Prince was aware of any act

    in furtherance of the Conspiracy that took place or would take place in Florida. See Walden, 571

    U.S. at 286 (“Due process requires that a defendant be haled into court in a forum State based on

    his own affiliation with the State, not based on the ‘random, fortuitous, or attenuated’ contacts he

    makes by interacting with other persons affiliated with the State.”); cf. Int’l Underwriters AG v.

    Triple I: Int’l Invs., Inc., No. 06-80966-CIV, 2007 WL 9701852, at *5 (S.D. Fla. May 30, 2007)

    (finding personal jurisdiction proper where there was “knowledge that overt acts in furtherance of

    the conspiracy would and did take place in Florida”). Plaintiff argues that the inclusion of the

    Miami, Florida telephone area code—305—in Defendant Van Rider’s Twitter handle

    (@305local), put the Crown Prince and others on notice of the Conspiracy’s connection to Florida.

    Resp. at 31. Plaintiff cites no case holding that a telephone area code presented in this manner

    might provide sufficient notice such that a court can exercise jurisdiction over a foreign defendant.

    This argument borders on frivolous.

           In short, the Crown Prince does not have contacts with Florida sufficient to satisfy the

    traditional minimum contacts test.11



    10
      The Amended Complaint includes Miami, Florida as an example of a major U.S. city. Am.
    Compl. ¶ 208.
    11
       It is true, as noted above, that for purposes of Florida’s long-arm statute courts in Florida are
    authorized to exercise personal jurisdiction over nonresident co-defendants in a civil conspiracy


                                                     37
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 38 of 55




           Nor does the Crown Prince satisfy the effects test. Under this test, the exercise of personal

    jurisdiction in the context of an intentional tort is proper where the tort: “(1) was intentional;

    (2) was aimed at the forum state; and (3) caused harm that the defendant should have anticipated

    would be suffered in the forum state.” Louis Vuitton, 736 F.3d at 1356 (alterations incorporated).

    Here, there is no indication that the conduct underpinning Plaintiff’s intrusion and intentional

    infliction of emotional distress claims against the Crown Prince—his participation in the hacks,

    see Am. Compl. ¶¶ 270, 276—was aimed at Florida. As noted above, Plaintiff’s phone was not

    hacked or otherwise accessed in Florida.          Nor did the hacks employ any Florida-based

    instrumentalities (e.g., agents, servers, resources, etc.). And the Crown Prince did not personally

    oversee the alleged hacking, theft, and doctoring of the information retrieved from her phone from

    Florida. Cf. id. ¶ 277 (attributing this conduct to all Defendants).12 Moreover, Plaintiff is an

    international journalist from Lebanon who is based in Qatar, id. ¶ 35, and the Crown Prince is not

    alleged to have known of the existence or potential existence of Florida co-conspirators. While, if

    the allegations are true, it would have been reasonable for the Crown Prince to assume that the

    effects of his conduct would be felt in various fora, it is less reasonable to assume that the effects



    where “any member of that conspiracy committed tortious acts in Florida in furtherance of that
    conspiracy.” Parisi v, 314 So. 3d at 660–61. However, Plaintiff points to no Eleventh Circuit
    case, let alone Supreme Court case, that establishes that this Court can maintain personal
    jurisdiction over a nonresident defendant based on the in-forum conduct of a forum-resident co-
    conspirator where the nonresident defendant has no knowledge that overt acts in furtherance of the
    conspiracy did or would take place in the forum. Walden’s reiteration of each defendant’s
    particular contacts tends to suggest the opposite. See Walden, 571 U.S. at 285. In any event, even
    if personal knowledge was not required, the Crown Prince’s alleged contacts are precisely
    the kind of random, fortuitous, or attenuated contacts that are insufficient to satisfy the
    minimum contacts test.
    12
        As an aside, Plaintiff’s civil conspiracy claim asserts that Van Rider and Jundi’s defaming
    Plaintiff constituted at least one step in furtherance of the conspiracy within Florida. Am. Compl.
    ¶ 306. However, Plaintiff does not assert her libel claim against the Crown Prince. See id.
    ¶¶ 281-291.


                                                     38
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 39 of 55




    would be felt in Florida, a forum where Plaintiff does not reside. Cf. Gubarev v. Buzzfeed, Inc.,

    253 F. Supp. 3d 1149, 1159 (S.D. Fla. 2017) (finding the exercise of personal jurisdiction

    reasonable under the “effects test” as to defamation claims based on injury to Florida-based

    plaintiff).

            For these reasons, the Court finds that it lacks personal jurisdiction over the Crown Prince

    under Florida’s long-arm statute and the Fourteenth Amendment.

                                   ii.    Rule 4(k)(2) and Fifth Amendment Due Process Clause.

            Plaintiff also invokes this Court’s personal jurisdiction over the Crown Prince pursuant to

    the “national long-arm statute,” Federal Rule of Civil Procedure 4(k)(2).          The exercise of

    jurisdiction pursuant to the Rule 4(k)(2) is limited to claims arising under federal law, here,

    Plaintiff’s ATS and CFAA Claims. See Fed. R. Civ. P. 4(k)(2); Fraser, 594 F.3d at 848–49 (“Rule

    4(k)(2) permits a court to aggregate a foreign defendant’s nationwide contacts to allow for service

    of process provided that two conditions are met: (1) plaintiff’s claims must ‘arise under federal

    law;’ and, (2) the exercise of jurisdiction must be ‘consistent with the Constitution and laws of the

    United States.’” (quoting Fed. R. Civ. P. 4(k)(2)).

            The Amended Complaint does allege the Crown Prince has contacts with the United States

    that were not discussed above. The Amended Complaint contains allegations that the Crown

    Prince or others working at his behest targeted U.S. news agencies and hacked The Washington

    Post owner and then-Amazon CEO Jeff Bezo’s mobile phone in the United States after the

    high-profile killing of Jamal Khashoggi. Am. Compl. ¶¶ 13, 70–73; see also Resp. at 34–35.

    According to Plaintiff, the repetition of the methodology used against Mr. Bezos, now used against

    Plaintiff, is sufficient to establish the requisite contacts between the Crown Prince and the United

    States. Resp. at 35.




                                                     39
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 40 of 55




           First, The Court fails to see how Plaintiff’s ATS and CFAA claims against the Crown

    Prince arise out of or relate to the hack of Mr. Bezo’s phone. See Bristol-Myers Squibb, 137 S. Ct.

    at 1781. Second, the alleged evidence of prior methodology against nonparties such as Mr. Bezos

    is not evidence of minimum contacts in the instant case. Third, Rule 4(k)(2) does not permit the

    exercise of conspiracy-based personal jurisdiction. See, e.g., Ofisi v. Al Shamal Islamic Bank, No.

    CV 15-2010, 2019 WL 1255096, at *5 n.8 (D.D.C. Mar. 19, 2019). Fourth, as noted above, it is

    not clear to the Court that the U.S. Defendants were in an agency relationship with the Crown

    Prince. And fifth, even assuming Saudi 24 TV, Al Arabiya, and MiSK Foundation’s U.S. contacts

    could be imputed to the Crown Prince, Plaintiff’s ATS and CFAA claims do not arise from those

    alleged U.S. contacts. Rather, Saudi 24 TV, Al Arabiya, and MiSK Foundation’s U.S. contacts

    are either entirely unrelated to any claim in this case, or are related to facilitating recruitment and

    dissemination, which are separate stages of the alleged three-stage Conspiracy.13 See Am. Compl.

    ¶¶ 89, 92, 94.

           For these reasons, the Court finds that it lacks personal jurisdiction over the Crown Prince.

    Accordingly, the Crown Prince’s motion to dismiss is granted for lack of personal jurisdiction, and

    all claims against him are dismissed without prejudice. Having found that the Court lacks personal

    jurisdiction over the Crown Prince, the Court need not address the Crown Prince’s subject matter

    jurisdiction or failure to state a claim arguments. See Sinochem Int’l, 549 U.S. at 431.

                           b.      DarkMatter.

           The Court finds that it lacks personal jurisdiction over DarkMatter for reasons largely

    similar to why this Court lacks personal jurisdiction over the Crown Prince. The Court begins by




    13
       Notably, Al Arabiya, Saudi 24 TV, and MiSK Foundation’s contacts with the U.S. are based
    on the conduct of other Defendants which the Amended Complaint seeks to impute to them.


                                                      40
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 41 of 55




    noting that Plaintiff’s Amended Complaint asserts four claims against DarkMatter: a CFAA claim

    arising under federal law and claims for intentional infliction of emotional distress, intrusion, and

    civil conspiracy arising under Florida law. See Am. Compl. ¶¶ 258–280, 292–311. Plaintiff

    invokes personal jurisdiction over DarkMatter under both the Florida long-arm statute and

    Rule 4(k)(2). Id. ¶¶ 124, 129.

           Most of the allegations against DarkMatter are made upon information and belief,

    including the allegation that DarkMatter acted in furtherance of the conspiracy by hacking

    Plaintiff’s mobile device. Id. ¶¶ 167, 171, 264, 304(b), 308(b).

           First, this Court lacks personal jurisdiction over DarkMatter under Florida’s long-arm

    statute and the Fourteenth Amendment Due Process Clause. Like the Crown Prince, Plaintiff fails

    to establish that this Court has personal jurisdiction over DarkMatter based on civil

    conspiracy-based personal jurisdiction under the Florida long-arm statute. See supra III.A.2.a.i.

    Nor does the Amended Complaint allege that DarkMatter has any agents in Florida. All claims

    against DarkMatter are predicated on its alleged hack of Plaintiff’s mobile device. Am. Compl.

    ¶¶ 259, 262, 264, 270, 276. 282, 304(b), 308(b). However, none of these allegations indicate in

    any way that DarkMatter committed these alleged torts in Florida. The sum total of Plaintiff’s

    allegations in the Amended Complaint against DarkMatter, none of which contains any indication

    that DarkMatter directed its conduct toward Florida, are as follows: DarkMatter is an Emirati

    cybersecurity company founded in either 2014 or 2015 and controls the hacking group known as

    “Project Raven,” which was responsible for the hack of nonparty Hamad bin Thamer Al Thani’s

    (the Qatari Chairman of Al Jazeera) personal mobile phone in June of 2017 using Pegasus spyware.

    Id. ¶¶ 76, 148. DarkMatter took over Project Raven from a Baltimore, Maryland-based company

    named CyberPoint International, which had hired former U.S. National Security Agency




                                                     41
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 42 of 55




    employees to work in the United Arab Emirates for Project Raven. Id. ¶ 150. DarkMatter, working

    in concert with the Crown Prince, has conducted offensive cyber operations against nonparties

    abroad. Id. ¶¶ 151–153. Upon information and belief, DarkMatter agreed to and did commit one

    of the four hacks of Plaintiff’s mobile device in furtherance of the Conspiracy. Id. ¶¶ 126, 158-159,

    167, 171, 264, 304(b), 308(b).

           Plaintiff’s allegations against DarkMatter in the Amended Complaint all relate to its

    participation in the hack of Plaintiff’s mobile device and the employment of Project Raven against

    foreign nonparties. However, as noted above, Plaintiff does not claim that she or her mobile device

    were present in Florida when any of the alleged hacks occurred. See id. ¶ 36. Nor does the

    Amended Complaint contain any allegations that any Florida-based employees, resources, servers,

    or instrumentalities were used in furtherance of DarkMatter’s alleged hack. Even assuming the

    existence of the Conspiracy, there is no indication that DarkMatter was aware that any overt act in

    furtherance of the Conspiracy would or did take place in Florida. See Walden, 571 U.S. at 286; cf.

    Int’l Underwriters, 2007 WL 9701852, at *5. And the Court observes that it would not have been

    reasonable for DarkMatter to assume that the effects of hacking the mobile device of a Qatar-based

    journalist from Lebanon would be felt in Florida for the same reasons noted above, especially

    given that both DarkMatter and Plaintiff are located abroad. See Am. Compl. ¶ 36; cf. Gubarev,

    253 F. Supp. 3d at 1159.

           In short, the Amended Complaint contains no allegations demonstrating that DarkMatter,

    an Emirati company with its principal place of business in the United Arab Emirates, (ECF

    No. 165) at 6 n.2, has any contacts with Florida, either sufficient for the Florida long-arm statute

    or under the Fourteenth Amendment.




                                                     42
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 43 of 55




           Second, Plaintiff fails to establish that that this Court has personal jurisdiction over

    DarkMatter under Rule 4(k)(2). The exercise of jurisdiction pursuant to Rule 4(k)(2) statute is

    limited to Plaintiff’s CFAA claim against DarkMatter. See Fraser, 594 F.3d at 848–49. The Court

    finds that Plaintiff’s Amended Complaint contains no allegations establishing that DarkMatter had

    any contacts with the United States, and Plaintiff’s Omnibus Response points to no conduct by

    DarkMatter that is directed at the United States. See Resp. at 34–35. As noted above, Plaintiff’s

    references to methodology, id., are unavailing because prior methodology is not evidence of U.S.

    contacts in the instant case. Nor can Plaintiff’s references to Jamal Khashoggi, the Qatari chairman

    of Al Jazeera, and Jeff Bezos establish personal jurisdiction in this case because, whatever

    DarkMatter’s involvement, Plaintiff’s claims in this case do not arise out of or relate to that

    conduct. Plaintiff does not establish that DarkMatter purposefully availed itself of the United

    States in her discussion of Project Raven—the Amended Complaint expressly states that a U.S.

    company was contracted to operate Project Raven in the United Arab Emirates, and Project Raven

    was transferred to DarkMatter in the United Arab Emirates sometime thereafter. Am. Compl.

    ¶¶ 149–150.    Further, as noted above, Rule 4(k)(2) does not contemplate the exercise of

    conspiracy-based personal jurisdiction, see, e.g., Ofisi, 2019 WL 1255096, at *5 n.8, and in any

    event, there is no indication that DarkMatter was aware of any of the alleged U.S.-based

    co-conspirators.

           For these reasons, the Court finds that it lacks personal jurisdiction over DarkMatter.

    Accordingly, DarkMatter’s motion to dismiss is granted for lack of personal jurisdiction, and all

    claims against it are dismissed without prejudice. Having found that the Court lacks personal

    jurisdiction over DarkMatter, the Court need not address its subject matter jurisdiction or failure

    to state a claim arguments. See Sinochem Int’l, 549 U.S. at 431.




                                                    43
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 44 of 55




                           c.      Al-Asaker.

           The Court finds that it lacks personal jurisdiction over Al-Asaker for reasons largely similar

    to why this Court lacks personal jurisdiction over the Crown Prince. As it did earlier, the Court

    begins by noting that Plaintiff’s Amended Complaint asserts five claims against Al-Asaker: ATS

    and CFAA claims, both arising under federal law, and claims for intentional infliction of emotional

    distress, intrusion, and civil conspiracy arising under Florida law. See Am. Compl. ¶¶ 258–280,

    292–311. Plaintiff invokes personal jurisdiction over Al-Asaker under both the Florida long-arm

    statute and Rule 4(k)(2). Id. ¶¶ 124, 129.

           First, this Court lacks personal jurisdiction over Al-Asaker14 under Florida’s long-arm

    statute and the Fourteenth Amendment Due Process Clause. As with the Crown Prince and

    DarkMatter, Plaintiff fails to establish that this Court has personal jurisdiction over Al-Asaker

    based on civil conspiracy-based personal jurisdiction under the Florida long-arm statute. See supra

    III.A.2.a.i. Like the Crown Prince and DarkMatter, Al-Asaker’s contacts with Florida also are

    either nonexistent or predicated entirely on the actions of others.

           The Amended Complaint alleges that Al-Asaker’s role in the Conspiracy included

    “assist[ing] in the coordination of the various (successful) campaigns (with Defendant Al Qahtani)

    to unlawfully hack [Plaintiff’s] mobile device, and then subsequently orchestrat[ing] the

    dissemination of the private photographs of [Plaintiff] via Twitter.” Am. Compl. ¶ 88. However,

    as noted at length above, none of the conduct related to the hacking of Plaintiff’s mobile device by




    14
       The Amended Complaint alleges that Al-Asaker is a Saudi Arabian citizen serving as the head
    of the Private Office of the Crown Prince with the rank of Minister in the Saudi Arabian
    government, pursuant to a royal decree. Am. Compl. ¶ 85. Al-Asaker is the Secretary General of
    MiSK Foundation. Id. The Amended Complaint alleges that Al-Asaker acted in his role as
    Secretary General of MiSK Foundation, not in his capacity as a government official within the
    Government of the Kingdom of Saudi Arabia. Id. ¶ 88.


                                                     44
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 45 of 55




    any Defendant allegedly involved in that hacking bears any connection to the United States, let

    alone Florida. See id. ¶¶ 156–174. There is also no indication that any of the social media “bot”

    accounts allegedly created by Al-Asaker at the behest of the Crown Prince for the purpose of

    spreading disinformation about Plaintiff either operated in or were directed at the United States or

    Florida. See id. ¶¶184–194. In short, to whatever extent Al-Asaker committed a tort through

    hacking or the creation of a bot network, that conduct did not occur in Florida.

           Further, Al-Asaker is not alleged to have directly instructed the Network to spread

    disinformation. Id. ¶ 196. The Amended Complaint does not allege that Al-Asaker personally

    recruited, communicated with, or spoke to any of the four U.S. Defendants, let alone the two U.S.

    Defendants residing in Florida. Rather, the Amended Complaint states in conclusory fashion that

    Van Rider and Jundi were “instructed by the Recruiting Defendants” and that they “operat[ed]

    under the directed strategy of” the Crown Prince, Al Qahtani, and Al-Asaker. Id. ¶¶ 204, 216.

    Despite the Amended Complaint’s inclusion of statistics describing the number of the U.S.

    Defendants’ Twitter followers self-reporting their location as Florida, id. ¶ 240, there is no

    indication that Al-Asaker knew of the existence of Van Rider and Jundi, and in any event, Van

    Rider and Jundi are not alleged to have been Al-Asaker’s agents, however the Amended Complaint

    intends the word to be understood. See, e.g., id. ¶¶ 22 (“Defendant MBS and his agents”), 34

    (“This case is brought to address the unlawful conduct undertaken personally by Defendant MBS,

    his foreign agents, and his U.S. mercenaries . . . (emphasis in original)), 38 (“U.S. agents of

    Defendants MBS, Al Qahtani and Al-Asaker, among others.”), 68, 74. In short, Al-Asaker lacks

    contacts with Florida sufficient to satisfy the Florida long-arm statute.

           Al-Asaker’s alleged conduct also does not satisfy the Due Process Clause. As it did earlier,

    the Court rejects the suggestion in Plaintiff’s Amended Complaint and her Omnibus Response that




                                                     45
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 46 of 55




    the intent to recruit members to the Network “from major U.S. cities” and Van Rider’s inclusion

    of the telephone area code for Miami, Florida in her Twitter handle are sufficient to establish that

    Al-Asaker was on notice that any act in furtherance of the Conspiracy could be or was performed

    in Florida. Id. ¶ 208. Rather, the Amended Complaint contains no indication that Al-Asaker was

    aware that any overt act in furtherance of the Conspiracy would or did take place in Florida. See

    Walden, 571 U.S. at 286; cf. Int’l Underwriters AG, 2007 WL 9701852, at *5. Further, this Court

    finds that it cannot obtain personal jurisdiction over Al-Asaker under the effects test for the reasons

    stated above in its analysis of the same for the Crown Prince. See supra III.A.2.a.i.

           In short, the Amended Complaint lacks allegations that would support the exercise of

    personal jurisdiction over Al-Asaker consistent with the Florida long-arm statute and the

    Fourteenth Amendment.

           Likewise, Plaintiff fails to establish that that this Court has personal jurisdiction over

    Al-Asaker under Rule 4(k)(2). The exercise of jurisdiction pursuant to Rule 4(k)(2) is limited to

    Plaintiff’s ATS and CFAA claims against Al-Asaker. See Fraser, 594 F.3d at 848–49. As noted

    above, Plaintiff’s references to past methodology, see Resp. at 34–35, are unavailing because prior

    methodology is not evidence that her claims arise out of Al-Asaker’s alleged contacts with the

    United States in the instant case. Nor can Plaintiff’s references to Jamal Khashoggi and Jeff Bezos

    establish personal jurisdiction over Al-Asaker in this case because, whatever Al-Asaker’s alleged

    involvement, Plaintiff’s claims in this case do not arise out of or relate to that conduct. See

    Bristol-Myers Squibb, 137 S. Ct. at 1781. To the extent the Amended Complaint asserts that the

    U.S. Department of Justice charged two former Twitter employees with spying for Saudi Arabia

    and those two criminal defendants reported directly to Al-Asaker, Am. Compl. ¶ 86, there is, again,

    no indication that Plaintiff’s federal claims against Al-Asaker in the instant case arise out of or




                                                      46
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 47 of 55




    relate to those U.S.-based contacts, or that those contacts have any connection to Florida. To the

    extent the Amended Complaint alleges that Al-Asaker traveled to the United States in March,

    April, and September of 2018, when the U.S. Defendant co-conspirators were being recruited, id.

    ¶ 87, the Amended Complaint does not indicate how Plaintiff’s claims arise out of those visits.

    Further, the Amended Complaint alleges that the Recruiting Defendants, not Al-Asaker, recruited

    the U.S. Defendants. See id. ¶ 46 n.17, 62, 295, 300, 308(e). Last, as noted above, Rule 4(k)(2)

    does not contemplate the exercise of conspiracy-based personal jurisdiction. See, e.g., Ofisi, 2019

    WL 1255096, at *5 n.8. In short, Plaintiff’s Amended Complaint does not contain allegations

    sufficient to demonstrate that this Court has personal jurisdiction over Al-Asaker under

    Rule 4(k)(2) and the Fifth Amendment.

           For these reasons, the Court finds that it lacks personal jurisdiction over Al-Asaker.

    Accordingly, Al-Asaker’s motion to dismiss is granted for lack of personal jurisdiction, and all

    claims against him are dismissed without prejudice. Having found that the Court lacks personal

    jurisdiction over Al-Asaker, the Court need not address his subject matter jurisdiction or failure to

    state a claim arguments. See Sinochem Int’l, 549 U.S. at 431.

                           d.      Al Qahtani.

           The Court finds that it also lacks personal jurisdiction over Al Qahtani. Plaintiff’s

    Amended Complaint asserts five claims against Al Qahtani: ATS and CFAA claims, both arising

    under federal law, and claims for intentional infliction of emotional distress, intrusion, and civil

    conspiracy arising under Florida law. See Am. Compl. ¶¶ 258–280, 292–311. Plaintiff invokes

    personal jurisdiction over Al Qahtani under both the Florida long-arm statute and Rule 4(k)(2). Id.

    ¶¶ 124, 129.




                                                     47
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 48 of 55




            First, this Court lacks personal jurisdiction over Al Qahtani15 under Florida’s long-arm

    statute and the Fourteenth Amendment Due Process Clause for much the same reasons as

    Al-Asaker, DarkMatter, and the Crown Prince.            Like the Crown Prince and Al-Asaker,

    Al Qahtani’s contacts with Florida are either nonexistent or predicated entirely on the actions of

    others. For the reasons discussed above in the Court’s analysis of the Crown Prince’s contacts

    with Florida, Plaintiff fails to establish that this Court has personal jurisdiction over Al Qahtani

    based on civil conspiracy-based personal jurisdiction under the Florida long-arm statute. See supra

    III.A.2.a.i.

            Further, this Court does not have personal jurisdiction over Al Qahtani based on his alleged

    Twitter activity. The Amended Complaint alleges that Al Qahtani had 1,691 “interactions” on

    Twitter with Van Rider, and 186 Twitter interactions with Jundi, Am. Compl. ¶¶ 42, 51, among

    his other alleged Twitter interactions with the U.S. Defendants. Id. ¶¶ 56, 60. Notably, the

    Amended Complaint does not expressly define what a Twitter “interaction” is beyond stating that

    Defendants’ Twitter interactions “relate[d] to praising Saudi Arabia, Defendant MBS, or other

    acolytes of MBS, while the remainder of the interactions involve[d] attacks on Defendant MBS’s

    critics.”16 See, e.g., id. ¶¶ 42, 51, 101. This, of course, assumes that it was in fact Al Qahtani

    operating the Twitter account the Amended Complaint alleges he used.




    15
       The Amended Complaint alleges that Al Qahtani is a Saudi Arabian citizen, former royal court
    advisor to the Crown Prince, former Chairman of the Saudi Federation for Cybersecurity
    Programming and Drones, the Crown Prince’s former media consultant, and the former General
    Supervisor of the Center for Studies and Media Affairs. Am. Compl. ¶ 77.
    16
       Based on the Amended Complaint, Twitter interactions seem at least to include the Defendants
    retweeting each other’s tweets, replying to each other’s tweets, and/or tagging each other’s Twitter
    handles or mentioning their names in tweets. See generally Am. Compl.


                                                    48
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 49 of 55




           However, the Amended Complaint claims that, upon information and belief, Al Qahtani

    and an unidentified nonparty residing in England created and managed the Twitter account

    “@KateStewart22,” which Al Qahtani allegedly used to interact with Van Rider and Jundi as

    discussed above. Id. ¶¶ 84, 233. However, it is not clear that Al Qahtani actually used this Twitter

    account, as opposed to the unidentified nonparty residing in England, especially considering the

    Amended Complaint asserts that “discovery will reveal the true identity of the user(s) of this

    account.” Id. ¶ 84 (emphasis added). The Court need not credit this speculative assertion for

    purposes of determining whether it has personal jurisdiction over Al Qahtani. See Mann, 713 F.3d

    at 1315.

           Further, Al Qahtani’s Twitter interactions do not permit the exercise of personal

    jurisdiction under Florida’s long-arm statute even assuming Al Qahtani does in fact operate the

    @KateStewart22 Twitter account. Only 85 of @KateStewart22 Twitter followers report their

    location as Florida. Am. Compl. ¶ 238. On this basis, the Amended Complaint concludes that

    Al Qahtani’s @KateStewart22 tweets were accessed in Florida. However, the Florida long-arm

    statute requires more than this. See Catalyst Pharms., Inc. v. Fullerton, 748 F. App’x 944, 947

    (11th Cir. 2018) (citing Internet Sols. Corp. v. Marshall, 39 So. 3d 1201, 1203 (Fla. 2010)) (noting

    that Florida law does not consider posting defamatory material on a website accessible in Florida

    a tortious act within Florida for purposes of the long-arm statute). In any event, Plaintiff does not

    assert her libel claim against Al Qahtani, see Am. Compl. ¶¶ 281–291, and her intentional infliction

    of emotional distress claim against Al Qahtani is based on his “intentional access of [Plaintiff’s]

    mobile device to obtain personal data and files,” id. ¶ 270, which, as discussed above bears no

    connection to Florida. Likewise, Plaintiff’s intrusion claim is predicated on the hack of Plaintiff’s

    phone. Id. ¶¶ 275–280. However, as noted at length above, none of the conduct related to the




                                                     49
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 50 of 55




    hacking of Plaintiff’s mobile device by any Defendant allegedly involved in that hacking bears

    any connection to the United States, let alone Florida. See id. ¶¶ 156–174.

           Further, Al Qahtani is not alleged to have directly instructed the Network to spread

    disinformation. Id. ¶ 196. Nor does the Amended Complaint allege that Al Qahtani personally

    recruited, communicated with, or spoke to any of the four U.S. Defendants, let alone the two U.S.

    Defendants residing in Florida. There is also no indication that Al Qahtani knew of the existence

    of the U.S. Defendants, let alone Van Rider and Jundi, who in any event, are not alleged to have

    been Al Qahtani’s agents, however that is defined or is to be understood, as noted above in the

    Court’s analysis into Al-Asaker’s contacts with Florida.

           For these reasons, this Court lacks personal jurisdiction over Al Qahtani pursuant to the

    Florida long-arm statute.

           Independently, the exercise of personal jurisdiction over Al Qahtani would not comport

    with the protections of the Fourteenth Amendment Due Process Clause. As noted at length above,

    Al Qahtani lacks Florida contacts. And, as it did earlier, the Court continues to reject that intending

    to recruit members to the Network “from major U.S. cities” and Van Rider including the telephone

    area code for Miami, Florida in her Twitter handle is sufficient to establish that Al Qahtani was on

    notice that any act in furtherance of the Conspiracy could be or was performed in Florida. Am.

    Compl. ¶ 208. Rather, the Amended Complaint contains no indication that Al Qahtani was aware

    of any Florida connection or that any overt act in furtherance of the Conspiracy would or did take

    place in Florida. See Walden, 571 U.S. at 286; cf. Int’l Underwriters AG, 2007 WL 9701852,

    at *5. Further, assuming this Court could exercise personal jurisdiction over Al Qahtani for his

    @KateStewart22 tweets, and assuming Plaintiff asserted a cause of action against Al Qahtani

    based on those tweets, doing so would violate Due Process given that only 85 of the account’s




                                                      50
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 51 of 55




    followers report their location as Florida.      Compare (ECF No. 164) at 4 (noting that the

    @KateStewart22 Twitter account had approximately 24,400 followers in total), with Miller v.

    Gizmodo Media Grp., 383 F. Supp. 3d 1365, 1374 (S.D. Fla. 2019) (finding that a defendant’s

    “contacts with Florida do not rise to the level of Hustler’s contacts with the forum in Keeton

    because less than one percent of Menaker’s audience was in Florida, and Menaker did not profit

    from posting the Tweet”). See also Bioheart, Inc. v. Peschong, No. 13-60304-CIV, 2013 WL

    1729278, at *4 (S.D. Fla. Apr. 22, 2013) (“While Bioheart does not describe the message board in

    detail, there is no evidence that it particularly facilitated interactions with or otherwise targeted a

    Florida audience.”). In short, Al Qahtani lacks contacts with Florida sufficient to satisfy the

    traditional minimum contacts test.      Further, this Court finds that it cannot obtain personal

    jurisdiction over Al Qahtani under the effects test for the reasons stated above in the Court’s

    analysis of the Crown Prince’s contacts. See supra III.A.2.a.i.

           In sum, the Amended Complaint lacks allegations that would support the exercise of

    personal jurisdiction over Al Qahtani consistent with the Florida long-arm statute and the

    Fourteenth Amendment.

           Likewise, Plaintiff fails to establish that that this Court has personal jurisdiction over

    Al Qahtani under Rule 4(k)(2). The exercise of jurisdiction pursuant to Rule 4(k)(2) is limited to

    Plaintiff’s federal claims against Al Qahtani. See Fraser, 594 F.3d at 848–49. As discussed at

    length above with respect to the Crown Prince, DarkMatter, and Al-Asaker, none of the conduct

    attributed to Al Qahtani that gives rise to Plaintiff’s ATS and CFAA against him is directed at the

    United States. And, as has previously been noted, Rule 4(k)(2) does not contemplate the exercise

    of conspiracy-based personal jurisdiction. See, e.g., Ofisi, 2019 WL 1255096, at *5 n.8.




                                                      51
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 52 of 55




           For these reasons, the Court finds that it lacks personal jurisdiction over Al Qahtani.

    Accordingly, Al Qahtani’s motion to dismiss is granted for lack of personal jurisdiction, and all

    claims against him are dismissed without prejudice. Having found that the Court lacks personal

    jurisdiction over Al Qahtani, the Court need not address his subject matter jurisdiction or failure

    to state a claim arguments. See Sinochem Int’l, 549 U.S. at 431.

           B.      Remaining Defendants.

           The remaining Foreign Defendants—Al Menaia, Al-Otaibi, Al-Owerde, Zeinab, MiSK

    Foundation, Saudi 24 TV, and Al Arabiya—like the Crown Prince, DarkMatter, Al Qahtani, and

    Al-Asaker, moved to dismiss for lack of personal jurisdiction and for lack of subject matter

    jurisdiction. See generally (ECF Nos. 163, 166, 168, 169). The U.S. Defendants—Van Rider,

    Schey, Jundi, and Smith—moved to dismiss for failure to state a claim upon which relief can be

    granted. See generally (ECF No. 162).

           The Court notes that there are no federal claims remaining in this case. Plaintiff’s Amended

    Complaint asserts only two federal claims: her claim under the ATS and her claim under the

    CFAA. See generally Am. Compl. These two federal claims are brought against only the Crown

    Prince, Al Qahtani, Al-Asaker, and DarkMatter. Id. ¶¶ 249–268. As noted above, the Court has

    granted the Crown Prince’s, Al Qahtani’s, Al-Asaker’s, and DarkMatter’s motions to dismiss

    because this Court lacks personal jurisdiction over them; thus, all claims against them, including

    Plaintiff’s ATS and CFAA claims, are dismissed without prejudice. Further, as also noted earlier,

    Plaintiff invokes this Court’s federal question jurisdiction for her ATS and CFAA claims, pursuant

    to 28 U.S.C. § 1331. Id. ¶ 121. For her state law intentional infliction of emotional distress,

    intrusion, libel, and civil conspiracy claims arising under Florida law, Plaintiff invokes this Court’s

    supplemental jurisdiction, pursuant to 28 U.S.C. § 1367. Id. Because no federal claims remain,




                                                      52
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 53 of 55




    the U.S. Defendants urge the Court to decline to exercise supplemental jurisdiction over Plaintiff’s

    state law claims if this Court finds that it lacks personal jurisdiction over the Foreign Defendants

    named in Plaintiff’s federal claims.17 (ECF No. 162) at 7–8.

            Under 28 U.S.C. § 1367, this Court has supplemental jurisdiction, “in any civil action of

    which the district courts have original jurisdiction, . . . over all other claims that are so related to

    claims in the action within such original jurisdiction that they form part of the same case or

    controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a). However,

    this Court is afforded the discretion to decline to exercise supplemental jurisdiction over such a

    claim where the Court has “dismissed all claims over which it has original jurisdiction.”

    Id. § 1367(c)(3); Engelhardt v. Paul Revere Life Ins. Co., 139 F.3d 1346, 1350 (11th Cir. 1998).

    “It has consistently been recognized that pendent jurisdiction is a doctrine of discretion, not of

    plaintiff’s right.” United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966). “[I]n the usual

    case in which all federal-law claims are eliminated before trial, the balance of factors to be

    considered under the pendent jurisdiction doctrine—judicial economy, convenience, fairness, and

    comity—will point toward declining to exercise jurisdiction over the remaining state-law claims.”

    Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 n.7 (1988). The Eleventh Circuit encourages

    district courts to dismiss any remaining state claims when the federal claims are dismissed prior to

    trial. See, e.g., Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291, 1296 (11th Cir. 2018); Raney v.

    Allstate Ins. Co., 370 F.3d 1086, 1088–89 (11th Cir. 2004) (per curiam). Dismissal of state law

    claims should usually be done without prejudice so that plaintiff may seek relief in state court. See

    Vibe Micro, Inc., 878 F.3d at 1296 (citing Crosby v. Paulk, 187 F.3d 1339, 1352 (11th Cir. 1999)).




    17
      The U.S. Defendants argue that they are “tethered to this lawsuit simply as Plaintiff’s tool to
    manufacture personal jurisdiction and venue in this Court.” (ECF No. 162) at 1.


                                                      53
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 54 of 55




           Here, Plaintiff explicitly invokes this Court’s supplemental jurisdiction over her state law

    claims—no other basis of jurisdiction is invoked over the state law claims and no federal law

    claims remain.18 Accordingly, at this juncture the Court declines to exercise supplemental

    jurisdiction over Plaintiff’s remaining claims against the remaining Defendants and will dismiss

    those claims without prejudice.

    IV.    CONCLUSION

           Accordingly, UPON CONSIDERATION of the Motions to Dismiss, the pertinent portions

    of the record, and being otherwise fully advised in the premises, it is hereby ORDERED AND

    ADJUDGED that:

          1) Defendant Mohammed bin Salman bin Abdulaziz Al Saud’s Motion to Dismiss

              Amended Complaint (ECF No. 161), Defendant Saud Al Qahtani’s Motion to Dismiss

              the Amended Complaint (ECF No. 164), Defendant DarkMatter’s Motion to Dismiss

              the Amended Complaint (ECF No. 165), and Defendant Bader Al-Asaker’s Motion to

              Dismiss Plaintiff’s Amended Complaint (ECF No. 167) are GRANTED for lack of

              personal jurisdiction.

          2) Defendants Sharon Van Rider, Christanne Schey, Sam Jundi, and Annette Smith’s

              Motion to Dismiss Amended Complaint for Failure to State a Claim (ECF No. 162),

              Defendants Faisal Al Menaia, Awwad Al Otaibi, Turki Al-Owerde, and Tarek Abou

              Zeinab’s Motion to Dismiss Plaintiff’s Amended Complaint (ECF No. 163), Defendant

              Prince Mohammed Bin Salman Abdulaziz Foundation’s Motion to Dismiss Plaintiff’s




    18
       Plaintiff cannot invoke this Court’s alienage jurisdiction. See Iraola & CIA, S.A. v. Kimberly-
    Clark Corp., 232 F.3d 854, 860 (11th Cir. 2000) (“It is a standard rule that federal courts do not
    have diversity jurisdiction over cases where there are foreign entities on both sides of the action,
    without the presence of citizens of a state on both sides.”).


                                                    54
Case 1:20-cv-25022-KMM Document 200 Entered on FLSD Docket 03/29/2022 Page 55 of 55




              Amended Complaint (ECF No. 166), Defendant Masharea Wa Enjazat IT Corporation

              LLC’s Motion to Dismiss Plaintiff’s First Amended Complaint (ECF No. 168), and

              Defendant Middle East News FZ-LLC’s Motion to Dismiss Plaintiff’s First Amended

              Complaint (ECF No. 169) are GRANTED for the reasons set forth above.

          3) Plaintiff’s Amended Complaint is DISMISSED WITHOUT PREJUDICE in its entirety

              as to all Defendants.

          4) The Clerk of Court is INSTRUCTED to CLOSE this case.

          5) All pending motions, if any, are DENIED AS MOOT.

                                                                28th day of March, 2022.
           DONE AND ORDERED in Chambers at Miami, Florida, this ____




                                                 K. MICHAEL MOORE
                                                 UNITED STATES DISTRICT JUDGE



    c: All counsel of record




                                                55
